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 7

 8

 9                               UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
      NAYMON FRANK, an individual,                 Case No. 2:22-CV-01590
12
                    Plaintiff,                     DEFENDANT TESLA, INC.’S
13                                                 NOTICE OF REMOVAL
            v.
14                                                 Los Angeles County Superior Court
      TESLA, INC., a corporation; SUZIE            Case No. 22STCV01712
15    HATZIS, an individual; and DOES 1
      through 49, inclusive,                       Complaint Filed: 1/14/2022
16                                                 First Amended Complaint Filed: 2/15/2022
                    Defendants.
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 1    TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 2    OF CALIFORNIA AND TO PLAINTIFF AND HIS COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE THAT Defendant Tesla, Inc. (“Tesla” or “Defendant”)
 4    hereby removes the above-referenced action from the Superior Court of the State of
 5    California for the County of Los Angeles, to the United States District Court for the Central
 6    District of California. This removal is made pursuant to 28 U.S.C. §§1441 and 1446,
 7    asserting diversity jurisdiction under 18 U.S.C. §1332, codified in relevant part at 28
 8    U.S.C. §1332. Tesla states that removal is proper for the following reasons.
 9    I.    PROCEDURAL BACKGROUND IN STATE COURT
10          On January 14, 2022, Plaintiff Naymon Frank (“Plaintiff”) filed a Complaint
11    entitled, “NAYMON FRANK, Plaintiff v. TESLA, INC., a corporation; and DOES 1 through
12    50, inclusive, Defendants”, Los Angeles County Superior Court Case No. 22STCV01712
13    (the “Complaint”). The Complaint alleged fourteen causes of action for: (1) Constructive
14    Discharge; (2) Harassment in Violation of FEHA, Government Code Section 12940, et
15    seq.; (3) Discrimination in Violation of FEHA, Government Code Section 12940, et seq.;
16    (4) Failure to Remedy and/or Prevent Discrimination and Harassment under FEHA,
17    Government Code Section 12940, et seq.; (5) Violation of Labor Code Section 1194, et
18    seq.; (6) Fraudulent Inducement in Violation of Labor Code Section 970; (7) Intentional
19    Infliction of Emotional Distress; (8) Failure to Provide Meal Breaks; (9) Failure to Provide
20    Rest Breaks; (10) Wrongful Failure to Promote in Violation of FEHA, Government Code
21    Section 12940, et seq.; (11) Fraud-Negligent Misrepresentation; (12) Fraud-Concealment;
22    (13) Promissory Fraud; and (14) Violation of Labor Code 201. A true and correct copy of
23    the Complaint is attached hereto as Exhibit 1.
24          On February 7, 2022 Tesla was served with copies of the Summons, Civil Case
25    Cover Sheet, and Complaint through its agent for service of process, CT Corporation, in
26    New York, New York. See concurrently filed Declaration of Kiran S. Lopez (“Lopez
27    Decl.”) at ¶2 and Exhibit A (service package).
28          On February 15, 2022, Plaintiff filed a First Amended Complaint entitled,


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 1    “NAYMON FRANK, Plaintiff v. TESLA, INC., a corporation; SUZIE HATZIS, an
 2    individual; and DOES 1 through 49, inclusive, Defendants,” Los Angeles County Superior
 3    Court Case No. 22STCV01712 (the “FAC”). The FAC alleged the same fourteen causes
 4    of action as the Complaint. Only Plaintiff’s Eleventh Cause of Action for Fraud-Negligent
 5    Misrepresentation and Twelfth Cause of Action for Fraud-Concealment were alleged
 6    against the newly added individual defendant Suzie Hatzis (“Hatzis”). All causes of action
 7    remained alleged against Tesla. A true and correct copy of the FAC is attached hereto as
 8    Exhibit 2.
 9           Tesla was served with the FAC by electronic service on February 15, 2022. Lopez
10    Decl. at ¶3 and Exhibit B (email serving FAC).
11           Exhibits 1 and 2 attached hereto and Exhibits A and B to the concurrently filed Lopez
12    Declaration constitute all of the pleadings served on Tesla and/or filed by Tesla in the Los
13    Angeles County Superior Court prior to filing of this Notice of Removal. Lopez Decl. at
14    ¶4. A Case Management Conference has not been scheduled. Id.
15    II.    TIMELINESS OF REMOVAL
16           This Notice of Removal is timely filed as it is filed less than one year from the date
17    this action was commenced and within 30 days of service of the Complaint on Tesla, the
18    moving Defendant. 28 U.S.C. §1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.
19    (1999) 119 S. Ct. 1322, 1325 (thirty-day deadline to remove commences upon service of
20    the summons and complaint).
21    III.   THIS COURT HAS DIVERSITY JURISDICTION OVER THIS CASE
22           Subject matter jurisdiction on the basis of diversity of citizenship requires that: (1)
23    there is complete diversity of citizenship between plaintiff and defendants; and (2) “the
24    matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.”
25    28 U.S.C. §1332. A Notice of Removal is sufficient “if it alleges that the parties are of
26    diverse citizenship and that the matter in controversy exceeds, exclusive of interest and
27    costs, the sum specified by 28 U.S.C. §1332 …” Ellenburg v. Spartan Motos Chassis, Inc.
28    (4th Cir. 2008) 519 F.3d 192, 200 (internal quotes and brackets omitted).

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 1          A.     There Is Complete Diversity Of Citizenship In This Case
 2          The complete diversity requirement merely means that all plaintiffs must be of
 3    different citizenship than all defendants, and any instance of common citizenship “deprives
 4    the district court of original diversity jurisdiction over the entire action.” Exxon Mobil
 5    Corp. v. Allapattah Servs., Inc. (2005) 545 U.S. 546, 553. A party’s citizenship is
 6    determined at the time the lawsuit was filed. In re Digimarc Corp. Derivative Litig. (9th
 7    Cir. 2008) 549 F.3d 1223, 1236 (“[T]he jurisdiction of the court depends upon the state of
 8    things at the time of the action [was] brought.”). In the present case, the parties had
 9    complete diversity of citizenship at the time the lawsuit was filed because Plaintiff’s
10    citizenship is diverse from Tesla’s and Hatzis is a sham defendant.
11                 1.     Plaintiff Is A Citizen Of California
12          For diversity purposes, a person is a “citizen” of the state in which he or she is
13    domiciled. Kantor v. Wellesley Galleries, Ltd. (9th Cir. 1983) 704 F.2d 1088, 1090 (“To
14    show state citizenship for diversity purposes under federal common law a party must . . .
15    be domiciled in the state.”). A person’s domicile is the place he resides with the intent to
16    remain indefinitely. Kanter v. Warner-Lambert Co. (9th Cir. 2001) 265 F.3d 853, 857 (“A
17    person’s domicile is her permanent home, where she resides with the intention to remain
18    or to which she intends to return.”). Residence is prima facie evidence of domicile. State
19    Farm Mut. Auto Ins. Co. v. Dyer (10th Cir. 1994) 19 F.3d 514, 520 (“the place of residence
20    is prima facie the domicile”).
21          Plaintiff alleges that he “was an individual working at various locations in California
22    (including Los Angeles) at the time of the actions alleged herein.” FAC at ¶1. Based on
23    Tesla’s records, the only home address listed for Plaintiff was in Carlsbad, California. See
24    concurrently filed Declaration of Allie Arebalo (“Arebalo Decl.”) at ¶3. Therefore, Tesla
25    is informed and believes that at all relevant times for the purposes of this removal, Plaintiff
26    is and has been a citizen of the State of California.
27                 2.     Tesla Is Not A Citizen Of California
28          For the purposes of diversity jurisdiction, “a corporation shall be deemed to be a

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 1     citizen of any State by which it has been incorporated and of the State where it has its
 2     principal place of business.” 28 U.S.C. §1332(c)(1); see also Davis v. HSBC Bank Nevada,
 3     N.A. (9th Cir. 2009) 557 F.3d 1026, 1028 (citing 28 U.S.C. § 1332(c)(1)).
 4             The Supreme Court of the United States in The Hertz Corp. v. Friend held that a
 5     corporate entity’s “principal place of business” for determining its citizenship is its “nerve
 6     center”:
 7                    We conclude that “principal place of business” is best read as
                      referring to the place where a corporation’s officers direct,
 8
                      control, and coordinate the corporation’s activities. It is the place
 9                    that Courts of Appeals have called the corporation’s “nerve
                      center.” And in practice it should normally be the place where
10
                      the corporation maintains its headquarters -- provided that
11                    the headquarters is the actual center of direction, control,
                      and coordination, i.e., the “nerve center” ....
12

13     (2010) 559 U.S. 77, 92-93 (emphasis added).
14             Tesla is now, and was at the time of the filing of this action, a corporation organized
15     and formed under the laws of the State of Delaware, with its principal place of business
16     and headquarters in Austin, Texas.1 Therefore, at all times since Plaintiff commenced this
17     lawsuit, Tesla is and has been a citizen of a state other than California within the meaning
18     of 28 U.S.C. §1332(c)(1). At all relevant times, Tesla is and has been a citizen of the States
19     of Delaware and Texas.
20                    3.     Suzie Hatzis Was Fraudulently Joined To Destroy Diversity
21             As noted above, for diversity purposes, a person is a “citizen” of the state in which
22     he or she is domiciled. Kantor, 704 F.2d at 1090. Plaintiff alleges that Hatzis “is an
23     individual living in Orange County, in California.” FAC at ¶2. Based on Tesla’s records,
24     the only home address listed for Hatzis was in Tustin, California. Arebalo Decl. at ¶4.
25     Therefore, superficially it would appear that because both Plaintiff and Hatzis are citizens
26

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       1
        Tesla’s Form 10-K for the fiscal year ended December 21, 2021, which is a public document and publicly
       accessible through the United States Securities and Exchange Commission’s website, lists Delaware as
28     Tesla’s State of Incorporation and 13101 Tesla Road, Austin, Texas as Tesla’s principal executive offices:
       https://www.sec.gov/Archives/edgar/data/1318605/000095017022000796/tsla-20211231.htm.
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 1     of California that there is no diversity of citizenship in this matter. Not so. Plaintiff
 2     fraudulently joined Hatzis in this lawsuit and because she is a sham defendant Hatzis’
 3     citizenship does not impact diversity jurisdiction in this case.
 4             A non-diverse defendant named in a state court action is disregarded for diversity
 5     jurisdiction purposes if the Court determines that the defendant’s joinder is a “sham” or
 6     “fraudulent” in that no valid cause of action has been stated against that defendant. Morris
 7     v. Princess Cruises, Inc. (9th Cir. 2001) 236 F.3d 1061, 1067. Thus, if “the plaintiff fails
 8     to state a cause of action against a resident defendant, and the failure is obvious according
 9     to the settled rules of the state, the joinder of the resident defendant is fraudulent.” McCabe
10     v. General Foods Corp. (9th Cir. 1987) 811 F.2d 1336, 1339; Calero v. Unisys Corp. (N.D.
11     Cal. 2003) 271 F. Supp.2d 1172, 1176 (joinder is fraudulent if the plaintiff cannot establish
12     a cause of action against the non-diverse defendant). A defendant is entitled to present facts
13     that prove fraudulent joinder. Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th
14     Cir.2001) (citing McCabe, 811 F.2d at 1339). The Court may also consider summary
15     judgment-type evidence, such as affidavits and deposition testimony. Id. at 1068
16     (quoting Cavallini v. State Farm Mutual Auto Ins. Co. (5th Cir. 1995) 44 F.3d 256, 293).
17             Here, Plaintiff alleges his Eleventh Cause of Action for Fraud-Negligent
18     Misrepresentation and Twelfth Cause of Action for Fraud-Concealment against Hatzis, but
19     offers no evidence in support of his claims and made no changes vis-à-vis Hatzis when the
20     Complaint and FAC are compared. 2 Indeed, the only mention of Hatzis related to
21     Plaintiff’s claims of fraud are as follows:
22             … FRANK told Holt on December 14, 2019, that he had been selected to
               appear in the Audi commercial, and Holt told Frank that she had cleared
23             FRANK’s appearing in the Audi e-tron commercial with SUZIE HATZIS
               (Regional Manager) the same day. Holt specifically gave FRANK the days
24
               off that FRANK needed to shoot the Audi e-tron commercial … Not only was
25             FRANK given the days off for the commercial shoot, but Hatzis announced
               to the entire leadership team at the Carlsbad, California TESLA location that
26             FRANK would be appearing in the Audi e-tron commercial and “wasn’t that
               cool.”
27
       2
28       The only change of circumstance that led to the FAC and the inclusion of Hatzis was Plaintiff learning
       that Tesla intended to remove this case and then move to compel arbitration. Lopez Decl. at ¶5.
                                               5
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 1             The Audi e-tron commercial aired during the Super Bowl on January 31, 2020.
               On February 1, 2020 … Isabella Merrick called FRANK and told him that
 2             Suzie Hatzis had been fired and that she (Merrick) was offering FRANK the
 3             opportunity to resign …3

 4     FAC at ¶¶16-17.
 5             Not only does Plaintiff fail to allege any facts that would support fraud-related causes
 6     of action against Hatzis, but he admits that Hatzis’ own employment was terminated as a
 7     result of Plaintiff appearing in the Audi e-tron commercial. Id. Plaintiff’s last-minute
 8     inclusion of Hatzis in this action defies both logic and common sense, and was clearly done
 9     solely to fraudulently destroy diversity jurisdiction and, effectively, forum shop.
10             In sum, Plaintiff fraudulently joined Hatzis as he does not, and cannot based on the
11     allegations in the FAC, state any viable claim against Hatzis.
12                          i.      Plaintiff Cannot Sustain Any Causes Of Action Against
                                    Hatzis For Fraud
13

14             Both Plaintiff’s Eleventh Cause of Action for Fraud-Negligent Misrepresentation
15     and Twelfth Cause of Action for Fraud-Concealment against Hatzis fail at the outset
16     because both require Hatzis to have owed Plaintiff a legal duty – here, no such duty existed.
17     Eddy v. Sharp (1988) 199 Cal.App.3d 858, 864, citing Hale v. George A. Hormel &
18     Co. (1975) 48 Cal.App.3d 73, 86 and Weirum v. RKO General Inc. (1975) 15 Cal.3d 40
19     (“As is true of negligence, responsibility for negligent misrepresentation rests upon the
20     existence of a legal duty, imposed by contract, statute or otherwise, owed by a defendant
21     to the injured person. The determination of whether a duty exists is primarily a question of
22     law.”); see also Davis v. HSBC Bank Nevada, N.A. (9th Cir. 2012) 691 F.3d 1152, 1163 (A
23     claim for fraudulent concealment requires that the defendant concealed or suppressed a
24     material fact while having a duty to disclose the fact to the plaintiff.) (internal quotations
25     and citations omitted). That duty arises under four circumstances:
26

27     3
        Plaintiff mentions Hatzis in relation to his claim for FEHA hostile work environment; however, that
28     cause of action has not been alleged against Hatzis and accordingly does not impact the sham defendant
       analysis. FAC at ¶20.
                                               6
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 1            (1) when the defendant is in a fiduciary relationship with the plaintiff;
 2            (2) when the defendant had exclusive knowledge of material facts not known to the
 3     plaintiff;
 4            (3) when the defendant actively conceals a material fact from the plaintiff; and
 5            (4) when the defendant makes partial representations but also suppresses some
 6     material facts.
 7     Burch v. CertainTeed Corp. (2019) 34 Cal. App. 5th 341, 349 (internal quotation marks
 8     and citations omitted). Clearly, there was no fiduciary relationship between Plaintiff and
 9     Hatzis, nor has Plaintiff alleged that such relationship existed. The latter three
10     circumstances require “the existence of some other relationship between the plaintiff and
11     defendant in which a duty to disclose can arise.” Id. “This relationship has been described
12     as a transaction, such as that between seller and buyer, employer and prospective employee,
13     doctor and patient, or parties entering into any kind of contractual arrangement.” Id. None
14     of these circumstances apply in the instant case.
15            While a duty to disclose may arise outside of a fiduciary relationship if the defendant
16     had exclusive knowledge of material facts, actively conceals a material fact, or suppresses
17     some material facts (CertainTeed, 34 Cal. App. 5th at 349), and the parties have a
18     relationship “as a result of some sort of transaction between the parties” (LiMandri v.
19     Judkins (1997) 52 Cal. App. 4th 326, 336–37), Plaintiff has not met and cannot meet this
20     critical qualifier. “As a matter of common sense, such a relationship can only come into
21     being as a result of some sort of transaction between the parties.” Id.; see also Warner
22     Constr. Corp. v. City of Los Angeles (1970) 2 Cal.3d 285, 294 (“In transactions which do
23     not involve fiduciary or confidential relations, a cause of action for non-disclosure of
24     material facts may arise in at least three instances” (italics added)); see also Goodman v.
25     Kennedy (1976) 18 Cal.3d 335, 347 (“duty of disclosure ... may exist when one party to a
26     transaction has sole knowledge or access to material facts and knows that such facts are
27     not known to ... the other party” (italics added)). Thus, a duty to disclose may arise from
28     the relationship between seller and buyer, employer and prospective employee, doctor and

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 1     patient, or parties entering into any kind of contractual agreement. Cal. Civ. Code §1572,
 2     subd. 3. All of these relationships are created by transactions between parties from which
 3     a duty to disclose facts material to the transaction arises under certain circumstances.
 4     LiMandri, 52 Cal. App. 4th at 336–37.
 5           The fundamental problem with Plaintiff’s fraud claims against Hatzis is that he
 6     alleges no such transaction or relationship with Hatzis that would give rise to a duty to
 7     disclose. It is noteworthy that California Civil Code Section 1572, one of two California
 8     statutes codifying the elements of a fraud cause of action, applies only to fraud “committed
 9     by a party to the contract ... with intent to deceive another party thereto, or to induce him
10     to enter into the contract.” LiMandri v. Judkins, 52 Cal. App. 4th at 337. Clearly, the fraud
11     allegations in Plaintiff’s complaint do not fall within the purview of Section 1572, as they
12     establish no contractual or precontractual relationship between Plaintiff and Hatzis.
13                         ii.    Plaintiff Cannot Sustain A Cause Of Action Against Hatzis
14                                For Fraud-Negligent Misrepresentation
15           To prove a claim of negligent misrepresentation against Hatzis, Plaintiff would have
16     to prove, among other things, that (1) Hatzis represented to Plaintiff that a fact was true;
17     (2) Hatzis had no reasonable grounds for believing the representation was true when she
18     made it; and (3) Hatzis intended that Plaintiff reasonably rely on this representation. SI 59
19     LLC v. Variel Warner Ventures, LLC (2018) 29 Cal.App.5th 146, 154 (“Negligent
20     misrepresentation requires an assertion of fact, falsity of that assertion, and the tortfeasor’s
21     lack of reasonable grounds for believing the assertion to be true. It also requires the
22     tortfeasor’s intent to induce reliance, justifiable reliance by the person to whom the false
23     assertion of fact was made, and damages to that person. An implied assertion of fact is ‘not
24     enough’ to support liability.”); see also Borman v. Brown (2021) 59 Cal.App.5th 1048,
25     1061 (“In our view, and to clarify, the proper formulation of the elements is that negligent
26     misrepresentation does require proof of ‘intent to induce another’s reliance on the fact
27     misrepresented’.”) (original italics, internal citation omitted.); see also RSB Vineyards,
28     LLC v. Orsi (2017) 15 Cal.App.5th 1089, 1102 (“[A] cause of action for misrepresentation

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 1     requires an affirmative statement, not an implied assertion.” (internal citations omitted.));
 2     see also Eddy, 199 Cal.App.3d at 864 (“As is true of negligence, responsibility for
 3     negligent misrepresentation rests upon the existence of a legal duty, imposed by contract,
 4     statute or otherwise, owed by a defendant to the injured person. The determination of
 5     whether a duty exists is primarily a question of law.”).
 6           Plaintiff’s claim fails. First, Plaintiff alleges that Holt, not Hatzis, “had cleared
 7     FRANK’s appearing in the Audi e-tron commercial with [HATZIS].” FAC at ¶16.
 8     Nowhere in the FAC does Plaintiff allege that he directly communicated with Hatzis
 9     regarding his appearance in the commercial in any capacity. Plaintiff only proffers the
10     allegation that, “…HATZIS announced to the entire leadership team … that FRANK would
11     be appearing in the Audi e-tron commercial and ‘wasn’t that cool.’” Id. Plaintiff’s failure
12     to even allege that Hatzis represented to him that a fact was true dooms his claim at the
13     outset. SI 59 LLC, 29 Cal.App.5th at 154.
14                         iii.   Plaintiff Cannot Sustain A Cause Of Action Against Hatzis
15                                For Fraud-Concealment
16           “[T]he elements of an action for fraud and deceit based on a concealment are:
17           (1) the defendant must have concealed or suppressed a material fact,
18           (2) the defendant must have been under a duty to disclose the fact to the plaintiff,
19           (3) the defendant must have intentionally concealed or suppressed the fact with the
20     intent to defraud the plaintiff,
21           (4) the plaintiff must have been unaware of the fact and would not have acted as he
22     did if he had known of the concealed or suppressed fact, and
23           (5) as a result of the concealment or suppression of the fact, the plaintiff must have
24     sustained damage.”
25     Boschma v. Home Loan Center, Inc. (2011) 198 Cal.App.4th 230, 248.
26           Here, Plaintiff’s claim fails at the outset. As discussed above, Plaintiff’s claim
27     against Hatzis hangs on his assumption that she somehow knew his employment would be
28     terminated if he appeared in the Audi e-tron commercial and his unsupported allegation

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 1     that she intentionally concealed that information from him. First, it is simply uncredible
 2     that Hatzis had any knowledge whatsoever regarding the consequences for Plaintiff’s
 3     appearance in the commercial as Hatzis’ own employment was terminated as a result. FAC
 4     at ¶¶17. Second, as discussed in detail above, Hatzis owed no legal duty to disclose to
 5     Plaintiff. Accordingly, Plaintiff’s claim fails.
 6                  4.     Doe Defendants Should Be Disregarded
 7           Pursuant to 28 U.S.C. § 1441(a), the residence of fictitious and unknown defendants
 8     should be disregarded for purposes of establishing removal jurisdiction under 28 U.S.C.
 9     §133; Fristos v. Reynolds Metals Co. (9th Cir. 1980) 615 F.2d 1209, 1213 (unnamed
10     defendants are not required to join in a removal petition). Thus, the existence of Doe
11     defendants in this case does not deprive this Court of jurisdiction. Accordingly, pursuant
12     to 28 U.S.C. §1332(c), Plaintiff and the real Defendant, Tesla, have diverse citizenship.
13           B.     The Amount In Controversy Requirement Has Been Met
14                  1.     Standard To Demonstrate Amount In Controversy
15           While Tesla denies any liability as to Plaintiff’s claims, the amount in controversy
16     requirement is satisfied because “it is more likely than not” that the amount exceeds the
17     jurisdictional minimum of $75,000. See Sanchez v. Monumental Life Ins. (9th Cir. 1996)
18     102 F.3d 398, 403-404) (“the defendant must provide evidence establishing that it is ‘more
19     likely than not’ that the amount in controversy exceeds [the threshold] amount.”) (internal
20     citation omitted). As explained by the Ninth Circuit, “the amount-in-controversy inquiry
21     in the removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins.
22     Co. (9th Cir. 2004) 372 F.3d 1115, 1117 (finding that the Court may consider facts
23     presented in the removal petition). In determining the amount in controversy, the Court
24     must consider the aggregate of general damages, special damages, compensatory damages,
25     punitive damages and attorneys’ fees where recoverable by law. See Guglielmino v. McKee
26     Foods Corp. (9th Cir. 2007) 506 F.3d 696, 700 (“Section 1332(a)’s amount-in-controversy
27     requirement excludes only ‘interest and costs.’”); see also Galt G/S v. JSS Scandinavia (9th
28     Cir. 1998) 142 F.3d 1150, 1156 (claims for statutory attorneys’ fees to be included in

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 1     amount in controversy, regardless of whether such an award is discretionary or mandatory);
 2     Davenport v. Mutual Benefit Health & Accident Ass’n. (9th Cir. 1963) 325 F.2d 785, 787
 3     (punitive damages must be taken into account where recoverable under state law); Conrad
 4     Assocs. v. Hartford Accident & Ind. Co. (N.D. Cal. 1998) 994 F. Supp. 1196, 1198
 5     (“amount in controversy” includes claims for general and special damages).
 6           In the FAC, Plaintiff requests (1) compensatory damages; (2) special damages; (3)
 7     consequential damages; (4) incidental damages; (5) prejudgment interest; (6) costs of suit
 8     and attorneys’ fees; and (7) punitive damages. FAC at Prayer for Relief, 21:9-17. In light
 9     of the expansive categories of damages sought by Plaintiff, the amount in controversy in
10     this action is more likely than not to exceed the $75,000 jurisdictional minimum.
11                  2.    Plaintiff’s Alleged Loss Of Earnings Exceeds $75,000
12           Plaintiff is seeking alleged loss of income and loss of stock benefits. Id. at ¶29. On
13     January 30, 2020, Plaintiff voluntarily resigned from his employment with Tesla in lieu of
14     receiving a Performance Improvement Plan. Arebalo Decl. at ¶3. Plaintiff’s last rate of pay
15     with Tesla was $76,250.00 per year, or approximately $6,354 per month. Id.
16           Based upon Plaintiff’s separation date of January 30, 2020, Plaintiff’s claim for lost
17     wages to date is approximately $158,850 through the present ($6,354 per month x 25
18     months). Moreover, conservatively estimating an arbitration hearing date in late January
19     2023, approximately 12 months after the Complaint was filed, approximately 36 months
20     will have elapsed since Plaintiff’s termination, totaling approximately $228,744 in alleged
21     lost wages alone by the time of trial ($6,354 per month x 36 months).
22           This amount does not account for the other special damages Plaintiff seeks, such as
23     losses in employment and stock benefits, which will further increase the claim for special
24     damages.
25                  3.    General And Punitive Damages Exceed $75,000
26           Although Tesla denies that it should be liable for any damages whatsoever in this
27     case, assuming arguendo for the purposes of removal that Plaintiff wins an arbitration
28     award, Plaintiff is also seeking general damages, as well as punitive damages. Complaint

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 1     at Prayer for Relief, 21:9-17. Plaintiff alleges he “has suffered extreme and severe anguish,
 2     humiliation, anger, tension, anxiety, depression, lowered self-esteem, sleeplessness and
 3     severe emotional distress.” Id. at ¶28. Assuming Plaintiff seeks emotional distress damages
 4     at least equal to his claimed economic damages, the estimated calculation of the amount in
 5     controversy doubles to $457,499 before considering the amount of attorneys’ fees incurred
 6     through trial4 or any award of punitive damages.5
 7                    4.     Verdicts In Cases With Similar Claims Exceed $75,000
 8             To establish the amount in controversy, a defendant may rely on jury verdicts in
 9     cases involving similar facts. Simmons v. PCR Tech. (N.D. Cal. 2002) 209 F. Supp. 2d
10     1029, 1033; Kroske v. U.S. Bank Corp. (9th Cir. 2005) 432 F.3d 976, 980. California jury
11     verdicts in cases involving claims similar to Plaintiff’s often exceed $75,000. See, e.g., Ko
12     v. The Square Group LLC dba The Square Supermarket (June 16, 2014) Los Angeles Sup.
13     Ct., Case No. BC487739 ($190,712.36 verdict on plaintiff’s claims for discrimination,
14     retaliation, wrongful termination in violation of public policy, and wage and hour claims
15     and $500,000 in punitive damages); Kamali v. Cal. Dep’t of Transp. (Dec. 20, 2012) Los
16     Angeles Sup. Ct., Case No. BC426247 (verdict for $663,983 on plaintiff’s claims for
17     national origin and disability discrimination); Hernandez v. Regents of the Univ. of Cal.
18     (June 29, 2010) Alameda County Sup. Ct., Case No. RG06272564 (verdict for $266,347
19     on disability discrimination, national origin discrimination, and retaliation claims).
20

21     4
         Plaintiff also seeks attorneys’ fees. Verdicts in comparable cases show that attorneys’ fees typically
       exceed $75,000.00. See Denenberg v. Cal. Dep’t of Transp. (San Diego County Sup. Ct. Sept. 14, 2006)
22     2007 WL 2827715 (attorney’s fees award of $490,000.00 in case alleging discrimination, harassment, and
       retaliation); Gallegos v. Los Angeles City College (Los Angeles County Sup. Ct. Oct. 16, 2003) (attorney’s
23
       fees award of $159,277.00 for claim of discrimination and retaliation). Therefore, the inclusion of a claim
24     for attorneys’ fees also supports the conclusion that the amount in controversy in this matter exceeds
       $75,000.00.
25
       5
         Plaintiff also seeks to recover punitive damages. Requests for punitive damages must be taken into
26     account in ascertaining the amount in controversy. Davenport, 325 F.2d at 787. The amount of punitive
27     damages awarded is based on the financial worth of the defendant, and is meant to punish the defendant
       in such a way that it will have a tangible financial consequence. Without conceding that punitive damages
28     are appropriate or applicable here, for a defendant of Tesla’s size, it is probable that a punitive damages
       award, if assessed, would exceed $75,000.00.
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 1           Because Plaintiff’s allegations that he was harassed, discriminated against, and
 2     wrongfully terminated based upon his race are similar to the claims and issues raised in the
 3     cases cited above, these awards demonstrate that, for diversity purposes, it is probable that
 4     any verdict in this matter in Plaintiff’s favor would award damages exceeding $75,000.
 5           Consequently, because there is complete diversity of citizenship and the amount in
 6     controversy clearly exceeds $75,000, this Court has jurisdiction over this action pursuant
 7     to 28 U.S.C. §§1332(a) and 1441(b).
 8     IV.   VENUE
 9           Venue lies in the United States District Court for the Central District of California,
10     pursuant to 28 U.S.C. §§84(c)(2), 1441, and 1446. This action originally was brought in
11     the Superior Court of the State of California, Los Angeles County, which is located within
12     the Central District of California. Therefore, venue is proper because it is the “district and
13     division embracing the place where such action is pending.” 28 U.S.C. §1441(a).
14     V.    SERVICE OF NOTICE OF REMOVAL ON PLAINTIFF AND THE CLERK
15           OF THE SUPERIOR COURT
16           Pursuant to 28 U.S.C. §1446(d), written notice of the filing of this Notice of Removal
17     will be given promptly to Plaintiff and his counsel, and together with a copy of the Notice
18     of Removal, will be filed with the Clerk of the Superior Court of the State of California,
19     Los Angeles County.
20     VI.   PRAYER FOR REMOVAL
21           WHEREFORE, Tesla prays that this civil action be removed from the Superior
22     Court of the State of California, County of Los Angeles, to the United States District Court
23     for the Central District of California.
24     DATED: March 9, 2022                           Respectfully submitted,
25                                                    TESLA, INC.
26                                                    By: /s/ Kiran S. Lopez
27
                                                      Kiran S. Lopez
                                                      Attorney for Defendants TESLA, INC.
28                                                    and SUZIE HATZIS

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                          EXHIBIT

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Electronically FILED by Sup iortourt of California, County of Los Angeles on 01/14/2022 02:23 PM Sherri R. Carter, Executive Officer/Clerk of Court, by Y. Tarasyuk,Deputy Clerk
                                                                                    #:21
                                                                                 22STCV01712
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Fruin




                             BOHM WILDISH & MATSEN,LLP
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                       3     Costa Mesa, CA 92626
                             Telephone Number: 714-384-6500
                       4
                             Facsimile Number: 714-384-6501 .
                       5
                             Attorneys for Plaintiff NAYMON FRANK,an individual
                      6
                       7                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                       8                             COUNTY OF LOS ANGELES — UNLIMITED JURISDICTION
                       9
                     10      NAYMON FRANK,an individual,                                                 CASE NO.22ST CV 01 71 2
                                                                                                         COMPLAINT FOR:
                     11                                       Plaintiffs,                               (1) CONSTRUCTIVE DISCHARGE;
                                                                                                        (2)HARASSMENT IN VIOLATION OF
                     12                 v.                                                               FEHA,GOVERNMENT CODE SECTION
                                                                                                         12940 ET SEQ.;
                     13                                                                                 (3)DISCRIMINATION IN VIOLATION OF
                        TESLA, INC., a corporation; and DOES 1
                                                                                                         FEHA,GOVERNMENT CODE SECTION
                     14 through 50, inclusive
                                                                                                         12940 ET SEQ.;
                     15                                                                                 (4)FAILURE TO REMEDY AND/OR
                                                              Defendants                                 PREVENT DISCRIMINATION AND
                     16                                                                                  HARASSMENT UNDER FEHA,
                                                                                                         GOVERNMENT CODE SECTION 12940 ET
                     17                                                                                  SEQ;
                                                                                                        (5) VIOLATION OF LABOR CODE
                     18                                                                                  SECTION 1194 ET SEQ.
                                                                                                        (6)FRAUDULENT INDUCEMENT IN
                     19
                                                                                                         VIOLATION OF LABOR CODE SECTION
                     20                                                                                  970;
                                                                                                        (7)INTENTIONAL INFLICTION OF
                     21                                                                                  EMOTIONAL DISTRESS;
                                                                                                        (8)FAILURE TO PROVIDE MEAL
                    22                                                                                   BREAKS;
                                                                                                        (9) FAILURE TO PROVIDE REST
                    23                                                                                   BREAKS;
                                                                                                        (10) WRONGFUL FAILURE TO
                    24
                                                                                                         PROMOTE IN VIOLATION OF FEHA,
                    25                                                                                   GOVERNMENT CODE SECTION 12940 ET
                                                                                                         SEQ.;
                    26                                                                                  (11) FRAUD — NEGLIGENT
                                                                                                         MISREPRESENTATION;
                    27                                                                                  (12) FRAUD — CONCEALMENT
                                                                                                        (13) PROMISSORY FRAUD
                    28                                                                                  (14) VIOLATION OF LABOR CODE 201




                                                                                                 COMPLAINT
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    1          FOR HIS CLAIMS against Defendants TESLA, INC.,(hereinafter "TESLA") and DOES 1

    2   through 50, inclusive, Plaintiff NAYMON FRANK,an individual, alleges as follows:

    3                                        GENERAL ALLEGATIONS

    4           1.     Plaintiff NAYMON FRANK (hereinafter referred to as"FRANK")was an individual

    5   working at various locations in California (including Los Angeles) at the time of the actions alleged

    6   herein. FRANK is African-American.
    7          2.      Defendant TESLA is a corporation with places of business in Los Angeles County,

    8   San Diego County, and Orange County, in California.
    9          3.      Plaintiff is ignorant of the true names and capacities of DOES, Defendants sued herein
   10   as DOES 1 through 50, inclusive, and therefore sues these Defendants by such fictitious names.
   11   Plaintiff will seek leave to amend this complaint to allege the true names and capacities of such
   12   Defendants when they have been ascertained.
   13          4.      Plaintiff is informed and believes and thereon alleges that at all relevant times
   14   defendants sued as DOE 1 through 50 inclusive, whether individuals, corporations, partnerships or
   15   otherwise, and the Defendants named herein, were and/or now are the agents, servants, employees,
   16   representatives, and alter egos of each other, and they are liable to the Plaintiff because in doing the
   17   things hereinafter alleged they were acting within the course and scope of their agency and/or
   18   authority, and pursuant to the permission and consent of the remaining Defendants, and/or their acts
   19   were consented to and/or ratified.

   20          5.      Plaintiff is informed and believes, and based thereon alleges, that defendant DOES,

   21   either some or all, are responsible in some manner for the events and happenings referred to herein
   22   and caused injury to Plaintiff as alleged herein. Plaintiff is informed and believes, and based thereon
   23   alleges, that some or all of the defendant DOES are and/or were agents and/or employees of
   24   Defendants and in doing the things hereinafter alleged, and at all times, were acting within the scope

   25   of their authority as such agents and/or employees, and at all times were acting within the scope of

   26   their authority as such agents and/or employees with the express, implied and/or ostensible authority

   27   of these Defendants.

   28



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    1          6.      Plaintiff is informed and believes, and based thereon alleges, that Defendants, and all

    2   of the defendant DOES, ratified, authorized, and consented to all of the acts and/or conduct of each

    3   other as alleged herein.

    4          7.      Venue is appropriate in the County of Los Angeles because the Plaintiff was employed

    5   and the relevant acts and omissions occurred within the County of Los Angeles, as well as San Diego

    6   and Orange counties.

    7                                        SUMMARY OF FACTS

    8          8.      FRANK began his employment with TESLA on or about August 15, 2016, in sales,
    9   with the title of Owner Advisor in Newport Beach, California.
   10          9.      Recruiter Vincent Duran specifically targeted and recruited FRANK to work for
   11   TESLA. One of the incentives to accept the job was TESLA's promise of stock options. However, as

   12   set forth in more detail, below, FRANK lost a significant amount of money in stock benefits
                                                                   constructively terminated prior to full
   13 (Restricted Stock Units,"RSUs") because he was wrongfully
       vesting (i.e. FRANK's employment was wrongfully constructively terminated before his stock
   14
       options fully vested at four years of employment with TESLA.) TESLA appears to intentionally
   15
       terminate employment before employees can receive vested stock benefits.
   16
               10.    While working as an Owner Advisor in Newport Beach, California, FRANK also was
   17
       a Regional Trainer, training employees at the Buena Park, Brea, and Costa Mesa locations, among
   18 other locations.
   19          1 1.    During the time that FRANK was a non-exempt employee at TESLA (i.e. from on or
   20   about August 15, 2016, until he became an Assistant Store Manager on or about November 1, 2018),
   21   FRANK consistently worked an average of 80 hours a week, without overtime compensation, meal

   22   breaks, or rest breaks.

   23          12.     On or about November 1, 2018, FRANK relocated to the UTC (University Town
        Center) TESLA location in San Diego; FRANK's title changed to that of Assistant Store Manager.
   24
        Although TESLA told FRANK that his relocation costs would be paid, FRANK was never reimbursed
   25
        and ended up paying the costs of relocating to San Diego himself. FRANK became a salaried
   26
        employee when he became an Assistant Store Manager (prior to that time, FRANK was an hourly
   27
        employee.)
   28



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               13.    FRANK accepted the new position of Assistant Store Manager (although the pay —
    I
        without the bonuses FRANK received as an Owner Advisor - was lower than the position of Owner
    2
        Advisor), because he had been informed by TESLA that the way to move up in the TESLA
    3
        corporation was to get into management. FRANK had the expectation that he would be eligible for
    4
        promotions in management once he accepted the Assistant Store Manager position.
    5          14.     However, despite the fact that during FRANK's employment with TESLA at the
    6   Newport Beach and San Diego locations, the TESLA Newport Beach location was ranked first in
    7   sales, and the TESLA San Diego location was ranked second in sales, FRANK was never promoted
    8   above the title of Assistant Stole Manager. FRANK estimates that he was passed over for a promotion

    9   at least four times while at TESLA. For example, FRANK trained employee Chris Bisson, and then

   10   Bisson was promoted to Store Manager at the San Diego UTC location (while FRANK remained
        Assistant Store Manager at the same location.)
   11
               15.    Prior to working at TESLA, FRANK was a professional football player for the Green
   12
        Bay Packers, an Oregon state police officer, a part-time professional model and actor, and worked in
   13
        store management at Iniqlo.
   14
               16.    On December 13, 2019, FRANK received word that he had been selected for an Audi
   15   commercial for the Audi e-tron (to be shown during Super Bowl 2020.) Although FRANK had never
   16   been told of and had never received from TESLA any policy prohibiting him from working as an
   17   actor while employed at TESLA (or specifically appearing in a car commercial), out of over-
   18   abundance of caution, FRANK asked his boss Kristina Holt (Store Manager) whether it would be

   19   okay if he appeared in the Audi e-tron commercial, which would air during the 2020 Super Bowl.

   20   More specifically, FRANK told Holt on December 14, 2019, that he had been selected to appear in
        the Audi commercial, and Holt told FRANK that she had cleared FRANK's appearing in the Audi e-
   21
        tron commercial with Suzie Hatzis(Regional Manager)the same day. Holt specifically gave FRANK
   22
        the days off that FRANK needed to shoot the Audi e-tron commercial (i.e. December 21 and
   23
        December 22, 2019.) Not only was FRANK given the days off for the commercial shoot, but Hatzis
   24
        announced to the entire leadership team at the Carlsbad, California TESLA Location that FRANK
   25
        would be appearing in the Audi e-tron commercial and "wasn't that cool." No one said anything to
   26   FRANK about a potential conflict of interest in appearing in a commercial for a competitor. FRANK
   27   was never hired by or compensated by Audi. Rather, FRANK's agents communicated with 72 and
   28   Sunny (an advertising agency) to cast FRANK in the Audi e-tron commercial.



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                 17.      The Audi e-tron commercial aired during the Super Bowl on January 31, 2020. On
    I
        February 1, 2020, which was FRANK's first day on the job as Assistant Store Manager in Santa
    2
         Monica, Isabella Merrick called FRANK and told him that Suzie Hatzis had been fired and that she
    3
        (Merrick) was offering FRANK the opportunity to resign (which would allow for the possibility of
    4
         being re-hired); if FRANK didn't resign by the end of the call with Merrick, Merrick told FRANK he
    5    would be fired. Not having any other option than to be fired (with no chance of being re-hired),
    6    FRANK resigned (i.e. he was constructively terminated.) The pre-textual reason for asking FRANK
    7   to resign or be terminated was that FRANK's appearing in an Audi e-tron commercial was a conflict
    8   of interest. Merrick, at the time, knew that FRANK had requested and was given permission by

    9   TESLA management to appear in the Audi e-tron commercial.

   10            18.      FRANK lost a significant amount of money in in stock benefits (Restricted Stock
        Units, "RSUs") because he was wrongfully constructively terminated prior to full vesting (i.e.
   11
        FRANK's employment was wrongfully constructively terminated before his stock options fully
   12
         vested at four years of employment with TESLA.) FRANK's TESLA stock would have vested in
   13
        June of 2020; a five-way stock split occurred in March of 2020, which greatly increased the value of
   14
        TESLA stock. In addition, FRANK also lost his Performance Bonus(which were typically awarded
   15   the month following the end of the Q4 deliveries in January/February. Performance bonuses were
   16   tied to annual reviews. FRANK had not yet received his 2019 annual review.) FRANK is informed
   17   and believes that TESLA makes a pattern out of terminating employees shortly before their RSU's
   18   vest under various pretexts.

   19            19.      FRANK later learned that Elon Musk had made the decision to terminate FRANK (i.e.

   20   to give him the option of resigning or to be terminated.) Elon Musk knew who FRANK was because
        the first year that FRANK worked at TESLA, an auto-pilot Tesla car that FRANK was in crashed.
   21
        The other people that were in the car went to the media with the story; FRANK did not talk to the
   22
        media.
   23
                 20.      FRANK experienced a hostile work environment during his employment with TESLA,
   24
        including but not limited to:
   25
               • Being harassed because of his race—African-American.
   26          • Not being promoted at least four times because of his race.
   27          • During FRANK's employment at TESLA, every African-American salesperson at the
   28                  UTC San Diego TESLA location was fired.



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               • To FRANK's knowledge he was the only African-American manager at TESLA during
    1
                     the time he was employed, throughout the entire company.
    2
               • FRANK was told by manager Suzie Hatzis during a performance review that he looked
    3
                    "intimidating." When FRANK asked Hatzis to provide clarification, Hatzis told FRANK
    4
                    (an African-American man)that he "can be a scary-looking guy." FRANK said that this
    5
                     was not a fair statement, and asked Holt to remove these comments from his performance
    6                review. FRANK also called and made a written complaint to Human Resources.
    7          • Although FRANK followed all TESA policies, FRANK was told by manager Suzie Hatzis
    8                that he "doesn't follow our rules", and "doesn't play ball."
    9          • Suzy Hatzis also tried to write-up FRANK for taking a test-drive car from the Vegas Hub
   10                to the call center, while FRANK was working at the Las Vegas TESLA location, when his

   11                use of the car was authorized.

   12       21.     FRANK also experienced wage and hour violations: 1) While an hourly employee,
   13   FRANK was forced to clock out for lunch but required to continue working; 2) FRANK's timecards
   14   were altered without his consent to give the appearance of no wage and hour meal violations; 3)
   15   FRANK did not receive overtime while a salaried employee;4)As of February 1, 2020, FRANK had
   16   not yet received his 2019 annual review, and did not receive a Performance Bonus, to which he was
   17   entitled.
   18      22.      Prior to filing this Complaint, Plaintiff fulfilled any legal requirement or exhausted any
   19   administrative remedy imposed on him by having filed the substance of claims alleged herein with
   20   the California Department of Fair Employment and Housing (hereinafter "DFEH")and has received
   21   Right to Sue Letters from the DFEH.(Exhibit A)Plaintiff has therefore substantially complied with
   22   all requirements for the filing of this Complaint and has exhausted his administrative remedies prior
   23   to filing, commencing, and serving the within action.
   24

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   26
   27

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     I                                           FIRST CAUSE OF ACTION
    2                                         CONSTRUCTIVE DISCHARGE

    3                    (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)

    4             23.   Plaintiff incorporates by this reference as though set forth in full the allegations of
    5    the preceding paragraphs of this Complaint.

    6             24.   Defendant Tesla (through its officers, directors, managing agents, or supervisory
    7    employees), intentionally created or knowingly permitted working conditions to exist that were so
    8    intolerable that a reasonable person in Plaintiffs position would have no reasonable alternative
    9    except to resign. Plaintiff resigned because ofthese working conditions, including, but not limited
   10    to:   Racial harassment and discrimination (including failure to promote) and TESLA telling
   11    FRANK that he needed to resign (or be fired), after FRANK appeared in a commercial that he had
   12    specifically been given permission by his supervisor to appear in.
   13             25.   At all times herein relevant, there was an employer/employee, agency, or other
   14    qualified relationship between Plaintiff and Defendants. California Government Code § 12940 et
   15    seq. -
   16             26.   Plaintiffs constructive termination was wrongful because he was forced to quit in
   17    part because of racial discrimination and harassment in violation of California Government Code §
   18    12940 et. seq. and the administrative regulations of the Fair Employment and Housing Act.
   19             27.   Defendants' conduct above described is in violation of various statues and the
   20    decisional law of this state and country, including but not limited to the FEHA, California
  '
  ")1    Government Code § 12940 et. seq.; Title VII Civil Rights Act of1964; Scott v. Pacific Gas and Elec.
   22    Co.(1995) 11 Cal. 4th 454, 464; Stephens v. Coldwell Banker Commercial Group, Inc.(1988) 199
   *23   Cal. App. 3d 1394, 1399-1401; California Constitution Article I, Section 8.
   24             28.   As a direct and proximate result of Defendants' unlawful conduct as alleged herein,
   25    Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension, anxiety, depression,
   26    lowered self-esteem, sleeplessness and severe emotional distress.
   27             29.   As a further direct and proximate result of the unlawful conduct, Plaintiff has
   28    suffered and continues to suffer loss of income, loss of stock benefits, loss of earning capacity, loss



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        ofjob opportunity and other losses.
    2           30.     Defendants' conduct described above was willful, despicable, knowing, and
    3   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
    4   an amount according to proof.
    5           31.     Plaintiff also seeks attorneys' fees in an amount according to proof.
    6
    7                                         SECOND CAUSE OF ACTION
    8                                  HARASSMENT IN VIOLATION OF FEHA,
    9                              GOVERNMENT CODE SECTION 12940 ET SEO.
   10                   (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
   11           32.    Plaintiff incorporates by this reference as though set forth in full the allegations of
   12   the preceding paragraphs of this Complaint.
   13           33.    FRANK was subjected to a workplace permeated with discriminatory intimidation,
   14   ridicule and insult that was sufficiently severe or pervasive to alter the conditions of his employment
   15   and to create an abusive working environment.
   16          34.     Defendants blatantly encouraged an environment for harassment. During the relevant
   17   periods of this Complaint, Defendants and each of them harassed and intimidated the Plaintiff by
   18   creating and maintaining a hostile work environment through pervasive and continuous harassment
   19   and discrimination against FRANK that was so offensive and severe that it substantially detrimentally
   20   altered the terms and conditions of Plaintiff's employment. The aforementioned acts and omissions
   21   constitute harassment and a hostile work environment under Government Code §12940(j) et. seq.
   22          35.     As a result of Defendants' conduct during their employment, Plaintiff has suffered
   23   and continues to suffer embarrassment, humiliation, emotional distress and mental anguish, all of
   24   which contributes to his damages in an amount according to proof in excess of the jurisdictional
   25   minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to prosecute this
   26   action and Plaintiff is entitled to attorney's fees and costs in accordance with case and statutory
   27   authority.
   28



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    1          36.     Defendants' conduct described above was willful, despicable, knowing, and
    2   intentional; accordingly, Plaintiff seeks an award of punitive damages and exemplary damages in an

    3, amount according to proof.
    4          37.     Plaintiff is informed and believes and based thereon alleges that in doing the acts or
    5   failing to take action as herein alleged, TESLA,and DOES 1 through 10 have acted and are acting

    6   with full knowledge of the consequences and harm being caused to Plaintiff. Such conduct is

    7   fraudulent, willful, oppressive and malicious such that Plaintiff is entitled to punitive and exemplary

    8   damages against TESLA in accordance with Civil Code § 3294.
    9   II
   10                                     THIRD CAUSE OF ACTION
   11                           DISCRIMINATION IN VIOLATION OF FEHAt
   12                         GOVERNMENT CODE SECTION 12940 ET SEQ.
   13                            (Plaintiff FRANK against Defendant TESLA
   14
                                             and DOES 1 through 10)
   15
             38.        Plaintiff incorporates by this reference as though set forth in full the allegations of
   16
        the preceding paragraphs of this Complaint.
   17
             39.       FRANK was subjected to a workplace. permeated with discriminatory intimidation,
   18
        ridicule and insult that sufficiently severe or pervasive to alter the conditions of his employment and
   19
        to create a discriminatory and abusive working environment. Throughout his employment with
   20
        Defendants, FRANK was subjected to racial discrimination, including but not limited to, being
   21
        passed over for promotion at least four times and racially based comments and insults.
   22
               40.     Defendants blatantly encouraged an environment for racial harassment and
   23
   24   discrimination. During the relevant periods ofthis Complaint, Defendants and each ofthem harassed

   25   intimidated, and discriminated against Plaintiff by creating and maintaining a hostile work

   26   environment through pervasive and continuous harassment and discrimination against FRANK that

   27   was so offensive and severe that it substantially detrimentally altered the terms and conditions of

   28



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    1   Plaintiff's employment.      The aforementioned acts and omissions constitute discrimination,
    2   harassment and a hostile work environment under Government Code §12940 et. seq.
    3          41.      As a result of Defendants' conduct during their employment of Plaintiff, Plaintiff
    4   has suffered and continues to suffer embarrassment, humiliation, emotional distress and mental
    5
        anguish, all of which contributes to her damages in an amount according to proof in excess of the
    6
        jurisdictional minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to
    7
        prosecute this action and Plaintiff is entitled to attorney's fees and costs in accordance with case and
    8
        statutory authority.
    9
               42.     Defendants' conduct described above was willful, despicable, knowing, and
   10
        intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
   11
        an amount according to proof. Plaintiff is informed and believes and based thereon alleges that in
   12
        doing the acts or failing to take action as herein alleged, TESLA, and DOES 1 through 9 have acted
   13
        and are acting with full knowledge of the consequences and harm being caused to Plaintiff. Such
   14
   15   conduct is fraudulent, willful, oppressive and malicious such that Plaintiff is entitled to punitive and

   16   exemplary damages against TESLA in accordance with Civil Code §3294.

   17
   18                                    FOURTH CAUSE OF ACTION

   19                          FAILURE TO REMEDY AND/OR PREVENT

   20                          DISCRIMINATION AND HARASSMENT IN

   21                VIOLATION OF FEHA,GOVERNMENT CODE SECTION 12940 ET SEQ.
   22                 (Plaintiff FRANK against Defendant TESLA and DOES 1 through 10)
   23          43.     Plaintiff incorporates by this reference as though set forth in full the allegations of
   24   the preceding paragraphs of this Complaint.
   25
   26
   27

   28



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    1           44.     FRANK was subjected to a workplace permeated with discriminatory intimidation
    2   that was sufficiently severe or pervasive to alter the conditions of his employment and to create an
    3   abusive working environment. Throughout his employment with the Defendants, FRANK was
    4   subjected to harassment by Suzie Hatzis; and others employed by Defendant Tesla.
    5
               45.     Defendants knew of the harassment and/or reasonably should have known of the
    6
        harassment as Defendants had received multiple complaints from employees about Suzie Hatzis and
    7
        failed to conduct an investigation in good faith or act to prevent and/or remedy against the
    8
        harassment in violation of Government Code §12940(j)(1). Further, Defendants failed to take all
    9
        reasonable measures to prevent harassment from occurring in violation of Government Code
   10
        §12940(k). Plaintiff filed a timely charge of discrimination and harassment with the California
   11
        Department of Fair Employment and Housing and received a Right to Sue Letter.
   12
               46.     As a result of Defendants' conduct during their employment of Plaintiff, Plaintiff has
   13
        suffered and continues to suffer embarrassment, humiliation, emotional distress and mental anguish,
   14
   15   all of which contributes to her damages in an amount according to proof in excess of the

   16   jurisdictional minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to

   17   prosecute this action and Plaintiff is entitled to attorney's fees and costs in accordance with case and

   18   statutory authority.

   19          47.     Defendants' conduct described above •was willful, despicable, knowing, and

   20   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
   21   an amount according to proof.
   22
   23                                          FIFTH CAUSE OF ACTION
   24
                               VIOLATION OF LABOR CODE SECTION 1194 ET.SEQ.
   25
                      (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
   26
               48.     Plaintiff incorporates by this reference as though set forth in full the allegations of
   27
        the preceding paragraphs of this Complaint.
   28



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    1            49.    Plaintiff performed work for Defendant Tesla, including overtime work.
    2            50.    Defendant Tesla knew or should have known that Plaintiff worked overtime hours.
    3            51.    Plaintiff was not paid for overtime work by Defendant Tesla.
    4            52.    Plaintiff is entitled to overtime wages, interest thereon, attorney's fees, and costs of
    5
        suit, in addition to waiting time penalties.
    6
                 53.    Waiting time penalties are for Defendant failing to timely pay all overtime wages
    7
        with Plaintiff's final paycheck. The waiting time penalty is Plaintiff's average daily wage, for 30
    8
        days.
    9
                                                SIXTH CAUSE OF ACTION
   10
                 FRAUDULENT INDUCEMENT IN VIOLATION OF LABOR CODE SECTION 970
   11
                                (Plaintiff FRANK against Defendant TESLA,and DOES
   12
                                                         1 through 10)
   13
                 54.    Plaintiff incorporates by this reference as though set forth in full the allegations of
   14
        the preceding paragraphs of this Complaint.
   15
                 55.    Labor Code Section 970 provides as follows:
   16
                 No person, or agent or officer thereof, directly or indirectly, shall influence, persuade, or
   17
                 engage any person to changefrom one place to another in this State orfrom any place
   18
                 outside to any place within the State, orfrom any place within the State to any place
   19
                 outside, for the purpose of working in any branch of labor, through or by means of
   20
                 knowingly false representations, whether spoken, written, or advertised in printed form,
   21
                 concerning either:
   22
                (a)The kind, character, or existence of such work;
   23
                (b) The length oftime such work will last, or the compensation therefor;
   24
                (c)The sanitary or housing conditions relating to or surrounding the work;
   25
                (d)The existence or nonexistence of any strike, lockout, or other labor dispute affecting it
   26
                 and pending between the proposed employer and the persons then or last engaged in the
   27
                 performance of the labor for which the employee is sought.(Emphasis Added.)
   28            56.    Recruiter Vincent Duran specifically targeted and recruited FRANK to work for



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        TESLA. One ofthe incentives to accept the job was TESLA's promise of stock options. However, as
    1
        set forth in more detail, below, FRANK lost a significant amount of money in stock benefits
    2
        (Restricted Stock Units,"RSUs") because he was wrongfully constructively terminated prior to full
    3
         vesting (i.e. FRANK's employment was wrongfully constructively terminated before his stock
    4
         options fully vested at four years of employment with TESLA.) TESLA appears to intentionally
    5   terminate employment before employees can receive vested stock benefits.
    6           57.    FRANK also seeks damages for the costs of uprooting from Orange County, California
    7   to San Diego, California, expenses incurred in relocation, and the loss of security and income
    8   associated with this employment. See Lazar v. Superior Court, 12 Cal. 46 631, 648-649(1996).

    9
   10
                                             SEVENTH CAUSE OF ACTION
   11
                             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
   12
                               (Plaintiff FRANK against Defendant TESLA,and DOES
   13
                                                        1 through 10)
   14
               58.     Plaintiff incorporates by this reference as though set forth in full the allegations of
   15
        the preceding paragraphs of this Complaint.
   16
               59.     Defendants' conduct caused Plaintiff to suffer severe emotional distress (including,
   17
        but not limited to: stress, anxiety, depression, headaches, sleep problems)
   18
               60.     As a result of Defendants' conduct, Plaintiff suffered severe emotional distress, as
   19
        indicated above.
   20
               61.     As a result of Defendants' conduct, Plaintiff was harmed, and Defendants' behavior
   21
        was a substantial factor in causing Plaintiff harm.
   22
               62.     As a direct and proximate result of said tortuous acts, omissions or conduct of
   23
        Defendants, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
   24
        general and special) and is certain in the future to sustain and incur losses (both incidental and
   25
        consequential).
   26
               63.     The acts of Defendants were done with malice in that Defendants' conduct was
   27
        intended by the Defendants to cause injury to Plaintiff or was despicable conduct which was carried
   28



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    1   on by Defendants with a willful and conscious disregard ofthe rights of Platntiff. In addition,
    2   Defendants' actions were oppressive in that Defendants' conduct was despicable and subjected

    3   Plaintiff to cruel and unjust hardship in conscious disregard of his rights. Therefore, an award of
    4   punitive damages is sought.

    5
    6                                          EIGHTH CAUSE OF ACTION
    7                                   FAILURE TO PROVIDE MEAL BREAKS
    8                   (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
    9             64.   Plaintiff incorporates by this reference as though set forth in full the allegations of
   10   the preceding paragraphs of this Complaint.
   11             65.   California Industrial Welfare Commission ("IWC") Wage order No. 4-2001 mandates
   12   that employees are entitled to an off-duty meal break of not less than 30 minutes for every five-hour
   13   period worked and a second meal break of not less than 30 minutes for every 10 hour period
   14   worked. The meal break must be for an uninterrupted 30 minutes, during which employees must be
   15   relieved of all duties. California Labor Code Section 512 codifies this requirement. In addition,
   16   California Labor Code Section 226.7 states that "if an employer fails to provide an employee a meal
   17   period or rest period in accordance with an applicable order of the Industrial Welfare Commission,
   18   the employer shall pay the employee one additional hour of pay at the employee's regular rate of
   19   compensation for each work day that the meal or rest period is not provided."
   20          66.      While Plaintiff was an hourly employee, Plaintiff was consistently required by
   21   Defendants to work without being provided the required thirty (30) minute uninterrupted meal
   22   breaks.
   23          67.      Plaintiff is entitled to recover an amount equal to one hour of wages per missed meal
   24   break, in addition to interest, applicable penalties, attorneys' fees and costs.
   25          68.      Pursuant to California Labor Code Section 558, any employer who violates any
   26   provision of an IWC order is subject to a civil penalty of fifty dollars($50)for an initial violation
   27   and one hundred ($100)for each subsequent violation per pay period. These civil penalties are
   28   recoverable by Plaintiff.



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    1                                           NINTH CAUSE OF ACTION
    2                                   FAILURE TO PROVIDE REST BREAKS

    3                   (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
    4          69.     Plaintiff incorporates by this reference as though set forth in full the allegations of
    5   the preceding paragraphs of this Complaint.

    6          70.      California Industrial Welfare Commission("IWC") Wage order No. 4-2001
    7   mandates that employees are entitled to a paid, off-duty 10-minute rest break for every

    8   approximately four-hour period worked. California Labor Code Section 226.7 states that "if an

    9   employer fails to provide an employee a meal period or rest period in accordance with an applicable

   10   order of the Industrial Welfare Commission, the employer shall pay the employee one additional
   11   hour of pay at the employee's regular rate of compensation for each work day that the meal or rest
   12   period is not provided." Plaintiff consistently worked with no rest breaks.
   13          71.     Throughout Plaintiffs employment while he was an hourly employee, Defendants
   14   prohibited Plaintiff from taking a 10-minute rest break for every period of approximately four hours
   15   worked.

   16          72.     Plaintiff is entitled to recover an amount equal to one hour of wages per missed rest
   17   break, in addition to interest, applicable penalties, attorneys' fees and costs.
   18          73.     Pursuant to California Labor Code Section 558, any employer who violates any
   19   provision of an IWC order is subject to a civil penalty of fifty dollars($50)for an initial violation
   20   and one hundred ($100)for each subsequent violation per pay period. These civil penalties are
   21   recoverable by Plaintiff.

   22
   23                                          TENTH CAUSE OF ACTION

   24                    WRONGFUL FAILURE TO PROMOTE IN VIOLATION OF FEHA,

   25                               GOVERNMENT CODE SECTION 12940 ET SEQ.

   26                  (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
   27          74. Plaintiff incorporates by this reference as though set forth in full the allegations of

   28   the preceding paragraphs of this Complaint.



                                                            15
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    I          75. Plaintiff believes and thereon alleges that his race/national origin/ancestry was a factor in

    2   Defendants' wrongful denials of promotion, as stated, above, and incorporated herein. More

    3   specifically: FRANK was not promoted at least four times because of his race; During FRANK's
    4   employment at TESLA,every African-American salesperson at the UTC San Diego TESLA location
    5   was fired; To FRANK's knowledge he was the only African-American manager at TESLA during the

    6   time he was employed, throughout the entire company.
    7          76.      At all times herein relevant, there was an employer/employee, agency, or other

    8   qualified relationship between Plaintiff and Defendants. California Government Code § 12940 et
    9   seq.
   10          77.      Plaintiff's denials of promotion were wrongful because he was denied promotions
   11   because of his race/national origin/ancestry in violation of California Government Code § 12940 et.
   12   seq.
   13          78.      Defendants' conduct above described is in violation of various statues and the
   14   decisional law of this state and country, including but not limited to the FEHA, California
   15   Government Code § 12910 et. seq.; Title VII Civil Rights Act of1964; Scott v. Pacific Gas and Elec.
   16   Co.(1995) 11 Cal. 4th 454, 464; Stephens v. Coldwell Banker Commercial Group, Inc.(1988) 199
   17   Cal. App. 3d 1394, 1399-1401; California Constitution Article I, Section 8.
   18          79.      As a direct and proximate result of Defendants' unlawful conduct as alleged herein,

   19   Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension, anxiety, depression,
   20   lowered self-esteem, sleeplessness and severe emotional distress.
   21          80.      As a further direct and proximate result of the unlawful conduct, Plaintiff has

   22   suffered and continues to suffer loss of income, loss of earning capacity, loss ofjob opportunity and
   23   other losses.
   24          81.      Defendants' conduct described above was willful, despicable, knowing, and

   25   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in

   26   an amount according to proof.

   27          82.      Plaintiff also seeks attorneys' fees in an amount according to proof.

   28



                                                           16
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    1                                   ELEVENTH CAUSE OF ACTION
    2                             FRAUD — NEGLIGENT MISREPRESENTATION
    3                  (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
    4          83.     Plaintiff realleges and incorporates each and every allegation contained in the
    5   preceding paragraphs of this Complaint as though fully set forth herein, and further alleges:
   6
               84.     Plaintiff was harmed because Defendants negligently misrepresented facts.
    7
               85.     Defendants represented to Plaintiff that certain facts were true, including, but not
    8
        limited to, that Plaintiff had permission to and could appear in a commercial for the Audi e-tron (to
   9
        be shown during Super Bowl 2020), and specifically gave Plaintiff the days off from work to shoot
   10
        the commercial for the Audi e-tron.
   11
               86.     Defendants' representation was not true. Defendants' statements were
   12
        representations of fact because Defendants had special knowledge about the subject matter that
   13
        Plaintiff did not have.
   14
               87.      Defendants made representations, not as a casual expression of belief, but in a way
   15
   16   that declared the matter to be true as Plaintiff's employer.

   17          88.      Defendants had a relationship of trust and confidence with Plaintiff as Plaintiff's

   18   employer, and as such, Defendants had reason to expect that Plaintiff would rely on their opinion.

   19          89.      Even if Defendants believed that these representations were true, Defendants had no

   20   reasonable grounds for believing these representations were true when they made the

  21    representations since they did not clear Plaintiff's appearing in a commercial for the Audi e-tron
   22   with Elon Musk(who later directed that Plaintiff resign or be fired in part for appearing in the
   23   commercial.)
  24           90.       Defendants intended that Plaintiff rely on these representations.
  25
               91.       Plaintiff reasonably relied on Defendants' representations.
  26
               92.       Plaintiff was harmed as a result of Defendants' false representations. Plaintiff's
  27
        reliance on Defendants' representations was a substantial factor in causing his harm.
  28



                                                           17
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    I           93.        As a direct and proximate result of said tortuous acts, omissions or conduct of
    2   Defendants, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
    3   general and special) and is certain in the future to sustain and incur losses (both incidental and
    4   consequential).
    5
                94.       The actions of Defendants were done with malice in that Defendants' conduct was
    6
        despicable conduct which was carried on by the Defendants with a willful and conscious disregard
    7
        of the rights of Plaintiff.
    8
                95.       Defendants were aware of the probable dangerous consequences of their conduct,
    9
        and willfully and deliberately failed to avoid those consequences. In addition, Defendants' actions
   10
        were oppressive in that Defendants' conduct was despicable and subjected Plaintiff to cruel and
   11
        unjust hardship in knowing disregard of Plaintiff.
   12
                96.       Defendants' actions were also fraudulent in that Defendants negligently
   13
        misrepresented and concealed material facts known to the Defendants with an intention on the part
   14
   15   of the Defendants of thereby depriving Plaintiff of property or legal rights or otherwise causing

   16   injury. Therefore, an award of punitive damages is sought.

   17
   18                                     TWELFTH CAUSE OF ACTION

   19                                       FRAUD — CONCEALMENT
   20                           (Plaintiff FRANK against Defendant TESLAnd DOES
   21                                                    1 through 10)
   22          97.      Plaintiff realleges and incorporates each and every allegation contained in the
   23   preceding paragraphs of this Complaint as though fully set forth herein, and further alleges:
   24          98.      Plaintiff was harmed because Defendants concealed certain information.
   25          99.      Plaintiff was in a fiduciary relationship with Defendants because they were his
   26   employer.
   27
   28



                                                           18
                                                      COMPLAINT
Case 2:22-cv-01590-MEMF-AGR               Document 1        Filed 03/09/22       Page 39 of 89 Page ID
                                                #:39




    I           100.      Defendants intentionally failed to disclose certain facts to Plaintiff; disclosed some
    2   facts to Plaintiffbut intentionally failed to disclose other facts, making the disclosure deceptive; and
    3   intentionally failed to disclose certain facts that were known only to them and that Plaintiff could
    4   not have discovered.
    5           101.    Plaintiff did not know of the concealed facts.
    6
                102.    Defendants intended to deceive Plaintiff by concealing the facts.
    7
                103.    Had the omitted information been disclosed, Plaintiff reasonably would have
    8
        behaved differently.
    9
                104.    Plaintiff was harmed as a result of this failure to disclose material information by his
   10
        employer.
   11                                                                                                \
                105.    Defendants' concealment was a substantial factor in causing Plaintiff's harm.
   12
                106.    As a direct and proximate result of said tortuous acts, omissions or conduct of
   13
        Defendant, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
   14
   15   general and special), and is certain in the future to sustain and incur losses (both incidental and

   16   consequential).

   17           107.    The actions of Defendants were done with malice in that Defendants' conduct was

   18   despicable conduct which was carried on by the Defendants with a willful and conscious disregard

   19   of the rights of Plaintiff.
   20           108.    Defendants were aware of the probable dangerous consequences of their conduct,
   21   and willfully and deliberately failed to avoid those consequences. In addition, Defendants' actions
   22   were oppressive in that Defendants' conauct was despicable and subjected Plaintiff to cruel and
   23   unjust hardship in knowing disregard of Plaintiff.
   24
                109.    Defendants' actions were also fraudulent in that Defendants negligently
   25
        misrepresented and concealed material facts known to the Defendants with an intention on the part
   26
        of the Defendants of thereby depriving Plaintiff of property or legal rights or otherwise causing
   27
        injury. Therefore, an award of punitive damages is sought.
   28



                                                            19
                                                       COMPLAINT
Case 2:22-cv-01590-MEMF-AGR              Document 1         Filed 03/09/22       Page 40 of 89 Page ID
                                               #:40




                                           THIRTEENTH CAUSE OF ACTION
    2                                              PROMISSORY FRAUD

    3                           (Plaintiff FRANK against Defendant TESLA,and DOES
    4                                                    1 through 10)
    5           1 10.   Plaintiff incorporates by this reference as though set forth in full the allegations of
    6   the preceding paragraphs of this Complaint.
    7           1 11.   A promise was made to Plaintiff regarding a material fact (i.e. that Plaintiff would be
    8   paid for relocation expenses for moving from Orange County, California to San Diego, California.)
    9          1 12. At the time of making this promise, Defendants did not intent to pay Plaintiff for
   10   relocation expense.
   11           1 13. Defendants' promise to pay Plaintiff for relocation expenses was made with the intent
   12   to deceive and the intent to induce Plaintiff to relocate to San Diego and to pay for his own
   13   relocation expenses.
   14          1 14. Plaintiff relied on Defendants' promise and relocated to San Diego.
   15          1 15. Defendants did not pay for Plaintiff's relocation expenses as promised.
   16          1 16. Plaintiff seeks damages for the costs of uprooting from
   17   Orange County, California to San Diego, California, expenses incurred in relocation, and the loss of
   18   security and income associated with this employment. See Lazar v. Superior Court, 12 Cal. 4th 631,'
   19   648-649(1996).
   20
   21                                      FOURTEENTH CAUSE OF ACTION
   22                                VIOLATION OF LABOR CODE SECTION 201
   23                   (Plaintiff FRANK against Defendant TESLA,and DOES 1 through 10)
   24
               1 17.    Plaintiff incorporates by this reference as though set forth in full the allegations of
   25
        the preceding paragraphs of this Complaint.
   26
               1 18.    Defendants violated Labor Code Section 201 by failing to pay Plaintiff a
   27
        Performance-based Bonus, as set forth in more detail, above.
   28



                                                           20
                                                       COMPLAINT
Case 2:22-cv-01590-MEMF-AGR             Document 1        Filed 03/09/22      Page 41 of 89 Page ID
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    1           119. Labor Code Section 201(a) provides: If an Employer discharges an Employee, the

    2   wages earned and unpaid at the time of the discharge are due and payable immediately.

    3           120. Plaintiff is entitled to his unpaid Performance Bonus, interest thereon, and waiting time
    4   penalties. Performance-based bonuses are considered earned wages. Therefore, Defendant is liable

    5   for "waiting time penalties" in addition to unpaid Performance Bonus wages and interest thereon,

    6   for failing to timely pay out the Performance Bonus with Plaintiff's final paycheck. The waiting
    7   time penalty is Plaintiff's average daily wage, for 30 days.

    8
    9                                         PRAYER FOR RELIEF
   10          1.      For compensatory damages;
   11          2.      For special damages;
   12          3.      For consequential damages according to proof;
   13          4.      For incidental damages according to proof;
   14          5.,     For prejudgment interest;
   15          6.      For costs incurred, including reasonable attorneys' fees;
   16          7.      For punitive damages as to Defendants; and
   17          8.      For any other and further relief as the Court may deem proper.
   18
   19   Dated: January 14, 2022                      BOHM WILDISH & MATSEN,LLP

   20
                                              By:
   21                                                JAMES G. BOHM
                                                     JOANNE P. FREEMAN
   22                                                Attorneys for Plaintiff
                                                     NAYMON FRANK
   23

   24

   25
   26
   27

  28



                                                          21
                                                     COMPLAINT
Case 2:22-cv-01590-MEMF-AGR          Document 1        Filed 03/09/22     Page 42 of 89 Page ID
                                           #:42




    1                                  DEMAND FOR JURY TRIAL

    2         Plaintiff hereby demands a jury trial pursuant to California Code ofCivil Procedure §631.

    3
    4   Dated: January 14, 2022                   BOHM WILDISH & MATSEN,LLP
    5

    6                                      By:
                                                  JAMES G. BOHM
    7                                             JOANNE P. FREEMAN
                                                  Attorneys for Plaintiff
    8
                                                  NAYMON FRANK
    9
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                                                      22
                                                  COMPLAINT
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                       Exhibit A
Case 2:22-cv-01590-MEMF-AGR                            Document 1                Filed 03/09/22   Page 44 of 89 Page ID
                                                             #:44
           STATE OF CALIFORNIA I Business Consumer Services end Housing Agency                              GAVIN NEWSOM GOVERNOR
                                                                                                                KEVIN KISH, DIRECTOR
           DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
            2218 Kausen Drive, Suite 106 I Elk Grove I C)yk I 95758
           (800)884-1684 (Voice) 1(800) 700-2320(TTY) I California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



   January 14, 2022

   Sherry Graybehl Dantony
   695 Town Center Drive, 700
   Costa Mesa, California 92626

   RE:     Notice to Complainant's Attorney
           DFEH Matter Number: 202201-15856114
           Right to Sue: FRANK / TESLA, INC.

   Dear Sherry Graybehl Dantony:

   Attached is a copy of your complaint of discrimination filed with the Department of Fair
   Employment and Housing (DFEH) pursuant to the California Fair Employment and
   Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
   Notice of Case Closure and Right to Sue.

   Pursuant to Government Code section 12962, DFEH will not serve these
   documents on the employer. You must serve the complaint separately, to all named
   respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
   information regarding filing a private lawsuit in the State of California. A courtesy "Notice
   of Filing of Discrimination Complaint" is attached for your convenience.

   Be advised that the DFEH does not review or edit the complaint form to ensure that it
   meets procedural or statutory requirements.

   Sincerely,


   Department of Fair Employment and Housing




                                                                                                        •




   Form OT_157EAC345513(Revised 12/21)                                                                   DFEH-ENF 80 RS
Case 2:22-cv-01590-MEMF-AGR                            Document 1               Filed 03/09/22   Page 45 of 89 Page ID
                                                             #:45

           STATE OF CALIFORNIA I Business Consumer Services and Housino Mencv                            GAVIN NEVVSOM GOVERNOR
                                                                                                             KEVIN KISH, DIRECTOR
            DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
            2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
           (800)884-1684 (Voice)1(800) 700-2320(TTY)1 California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center©dfeh.ca.gov



   January 14, 2022

   RE:     Notice of Filing of Discrimination Complaint
           DFEH Matter Number: 202201-15856114
           Right to Sue: FRANK / TESLA, INC.

   To All Respondent(s):

   Enclosed is a copy of a complaint of discrimination that has been filed with the
   Department of Fair Employment and Housing (DFEH) in accordance with Government
   Code section 12960. This constitutes service of the complaint pursuant to Government
   Code section 12962. The complainant has requested an authorization to file a lawsuit. A
   copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

   This matter may qualify for DFEH's Small Employer Family Leave Mediation
   Pilot Program. Under this program, established under Government Code
   section 12945.21, a small employer with 5-19 employees, charged with violation
   of the California Family Rights Act, Government Code section 12945.2, has the
   right to participate in DFEH's free mediation program. Under this program both
   the employee requesting an immediate right to sue and the employer charged
   with the violation may request that all parties participate in DFEH's free
   mediation program. The employee is required to contact the Department's
   Dispute Resolution Division prior to filing a civil action and must also indicate
   whether they are requesting mediation. The employee is prohibited from filing a
   civil action unless the Department does not initiate mediation within the time
   period specified in section 12945.21, subdivision (b)(4), or until the mediation is
   complete or is unsuccessful. The employee's statute of limitations to file a civil
   action, including for all related claims not arising under section 12945.2, is tolled
   from the date the employee contacts the Department regarding the intent to
   pursue legal action until the mediation is complete or is unsuccessful. You may
   contact DFEH's Small Employer Family Leave Mediation Pilot Program by
   emailing DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter
   number indicated on the Right to Sue notice.


   Please refer to the attached complaint for a list of all respondent(s) and their contact
   information.

   No response to DFEH is requested or required.

   Sincerely,




   Form OT_157EAC345513(Revised 12/21)                                                                 DFEH-ENF 80 RS
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  4015. ..       .c,;,  STATE OF CALIFORNIA I Business Consumer Services and Housing Mencv                          GAVIN NEVVSOM GOVERNOR
 fe?
   )     1
         1     , * .\,                                                                                                  KEVIN KISH, DIRECTOR
0
i k1)               DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
                   41.
ti :     eYi            2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
                       (800)884-1684(Voice) 1(800)700-2320(TTY) I California's Relay Service at 711
   .s'...,;... ?        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



         Department of Fair Employment and Housing




        Form OT_157EAC345513(Revised 12/21)                                                                       DFEH-ENF 80 RS
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                                                              #:47

           STATE OF CALIFORNIA I Business. Consumer Services and Housing Aoencv                             GAVIN NEVVSOM. GOVERNOR
                                                                                                                KEVIN KISH, DIRECTOR
           DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
            2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
           (800)884-1684 (Voice) 1(800) 700-2320(TTY) I California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



   January 14, 2022

   NAYMON FRANK
   695 Town Center Dr., Suite 700
   Costa Mesa, CA 92626

   RE:     Notice of Case Closure and Right to Sue
         • DFEH Matter Number: 202201-15856114
           Right to Sue: FRANK / TESLA, INC.

   Dear NAYMON FRANK:

   This letter informs you that the above-referenced complaint filed with the Department of
   Fair Employment and Housing (DFEH) has been closed effective January 14, 2022
   because an immediate Right to Sue notice was requested.

   This letter is also your Right to Sue notice. According to Government Code section
   12965, subdivision (b), a civil action may be brought under the provisions of the Fair
   Employment and Housing Act against the person, employer, labor organization or
   employment agency named in the above-referenced complaint. The civil action must be
   filed within one year from the date of this letter.

   This matter may qualify for DFEH's Small Employer Family Leave Mediation
   Pilot Program. Under this program, established under Government Code section
   12945.21, a small employer with 5-19 employees, charged with violation of the
   California Family Rights Act, Government Code section 12945.2, has the right to
   participate in DFEH's free mediation program. Under this program both the
   employee requesting an immediate right to sue and the employer charged with
   the violation may request that all parties participate in DFEH's free mediation
   program. The employee is required to contact the Department's Dispute
   Resolution Division prior to filing a civil action and must also indicate whether
   they are requesting mediation. The employee is prohibited from filing a civil
   action unless the Department does not initiate mediation within the time period
   specified in section 12945.21, subdivision (b)(4), or until the mediation is
   complete or is unsuccessful. The employee's statute of limitations to file a civil
   action, including for all related claims not arising under section 12945.2, is tolled
   from the date the employee contacts the Department regarding the intent to
   pursue legal action until the mediation is complete or is unsuccessful. Contact
   DFEH's Small Employer Family Leave Mediation Pilot Program by emailing
   DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number
   indicated on the Right to Sue notice.




   Form OT_157EAC345513(Revised 12/21)                                                                    DFEH-ENF 80 RS
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                       STATE OF CALIFORNIA I Business, Consumer Services and Housing Agency                            GAVIN NEVVSOM GOVERNOR
                                                                                                                           KEVIN KISH, DIRECTOR
                       DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
                        2218 Kausen Drive, suite 100 I Elk Grove I CA I 95758
                       (800)884-1684(Voice)!(800)700-2320(TTY)1 California's Relay Service at 711
.4- .'.:SiFi•.:°.-7.
                 "      http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



          To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
          Opportunity Commission (EEOC)to file a complaint within 30 days of receipt of this
          DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
          whichever is earlier.

          Sincerely,             •


           Department of Fair Employment and Housing




         Form 01_157EAC34.
                         5513(Revised 12/21)                                                                         DF,EH-ENF 80 RS
Case 2:22-cv-01590-MEMF-AGR                     Document 1   Filed 03/09/22   Page 49 of 89 Page ID
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 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                               BEFORE THE STATE OF CALIFORNIA
 2                     DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                       Under the California Fair Employment and Housing Act
 3
                                   (Gov. Code,§ 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    NAYMON FRANK                                                    DFEH No. 202201-15856114

 6                                         Complainant,
     VS.
 7

 8    TESLA, INC.
      10250 Santa Monica Blvd., Suite 1340
 9    Los Angeles, CA 90067

10                                         Respondents

11

12
   1. Respondent TESLA, INC. is an employer subject to suit under the California Fair
13 Employment and Housing Act(FEHA)(Gov. Code,§ 12900 et seq.).

14

15   2. Complainant NAYMON FRANK, resides in the City of Costa Mesa, State of CA.

16
   3. Complainant alleges that on or about February 1, 2020, respondent took the
17 following adverse actions:

18 Complainant was harassed because of complainant's race, color.

19
   Complainant was discriminated against because of complainant's race, color and as a
20 result of the discrimination was terminated, forced to quit, denied hire or promotion.

21   Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment and as a result was terminated, forced to quit.
22

23 Additional Complaint Details: NAYMON FRANK ("FRANK") began his employment with
   TESLA, INC.("TESLA") on or about August 15, 2016, in sales, with the title of Owner
24 Advisor in Newport Beach, California. One of the incentives to accept the job was TESLA's
   promise of stock options. However, FRANK lost a significant amount of money in stock
25

26                                                   -1-
                                     Complaint— DFEH No. 202201-15856114
27
     Date Filed: January 14, 2022
28
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 1   benefits (Restricted Stock Units, "RSUs") because he was wrongfully constructively
     terminated prior to full vesting (i.e. FRANK's employment was wrongfully constructively
 2 terminated before his stock options fully vested at four years of employment with TESLA.)
     TESLA appears to intentionally terminate employment before employees can receive vested
 3 stock benefits.
              While working as an Owner Advisor in Newport Beach, California, FRANK also was
 4 a Regional Trainer, training employees at the Buena Park, Brea, and Costa Mesa locations,
     among other locations.
 5            On or about November 1, 2018, FRANK relocated to the UTC (University Town
     Center) TESLA location in San Diego; FRANK's title changed to that of Assistant Store
 6
     Manager. Although TESLA told FRANK that his relocation costs would be paid, FRANK was
 7   never   reimbursed and ended up paying the costs of relocating to San Diego himself.
     FRANK became a salaried employee when he became an Assistant Store Manager (prior to
 8 that time, FRANK was an hourly employee.)
     FRANK accepted the new position of Assistant Store Manager (although the pay — without
 9 the bonuses FRANK received as an Owner Advisor - was lower than the position of Owner
     Advisor), because he had been informed by TESLA that the way to move up in the TESLA
10 corporation was to get into management. FRANK had the expectation that he would be
    eligible for promotions in management once he accepted the Assistant Store Manager
1 1 position.
              However, despite the fact that during FRANK's employment with TESLA at the
12 Newport Beach and San Diego locations, the TESLA Newport Beach location was ranked
    first in sales, and the TESLA San Diego location was ranked second in sales, FRANK was
13 never promoted above the title of Assistant Store Manager. FRANK estimates that he was
     passed over for a promotion at least four times while at TESLA. For example, FRANK
14 trained employee Chris Bisson, and then Bisson was promoted to Store Manager at the San
    Diego UTC location (while FRANK remained Assistant Store Manager at the same location.)
15
              On December 13, 2019, FRANK received word that he had been selected for an
16  Audi   commercial  for the Audi e-tron (to be shown during Super Bowl 2020.) Although
    FRANK had never been told of and had never received from TESLA any policy prohibiting
17 him from working as an actor while employed at TESLA (or specifically appearing in a car
    commercial), out of over-abundance of caution, FRANK asked his boss Kristina Holt(Store
18 Manager) whether it would be okay if he appeared in the Audi e-tron commercial, which
    would air during the 2020 Super Bowl. More specifically, FRANK told Holt on December 14,
19 2019, that he had been selected to appear in the Audi commercial, and Holt told FRANK
    that she had cleared FRANK's appearing in the Audi e-tron commercial with Suzie Hatzis
20 (Regional Manager) the same day. Holt specifically gave FRANK the days off that FRANK
    needed to shoot the Audi e-tron commercial (i.e. December 21 and December 22, 2019.) No
21 one said anything to FRANK about a potential conflict of interest in appearing in a
    commercial for a competitor.
22            The Audi e-tron commercial aired during the Super Bowl on January 31, 2020. On
    February 1, 2020, which was FRANK's first day on the job as Assistant Store Manager in
23 Santa Monica, Isabella Merrick called FRANK and told him that she (Merrick) was offering
    FRANK the opportunity to resign (which would allow for the possibility of being re-hired); if
24
    FRANK didn't resign by the end of the call with Merrick, Merrick told FRANK he would be
25  fired.  Not having any other option than to be fired (with no chance of being re-hired), FRANK

26                                                    -2-
                                     Complaint — DFEH No. 202201-15856114
27
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28
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 1  resigned (i.e. he was constructively terminated.) The pre-textual reason for asking FRANK
    to resign or be terminated was that FRANK's appearing in an Audi e-tron commercial was a
 2 conflict of interest. Merrick, at the time, knew that FRANK had requested and was given
    permission by TESLA management to appear in the Audi e-tron commercial.
  3         FRANK experienced a hostile work environment during his employment with TESLA,
    sufficiently severe or pervasive to alter the conditions of his employment and to create an
 4 abusive working environment including but not limited to:
            Being harassed because of his race—African-American.
 5          Not being promoted at least four times because of his race.
    •       During FRANK's employment at TESLA, every African-American salesperson at the
 6
    UTC San Diego TESLA location was fired.
 7  •       To FRANK's knowledge he was the only African-American manager at TESLA during
    the time he was employed, throughout the entire company.
 8 •        FRANK was told by manager Suzie Hatzis during a performance review that he
    looked "intimidating." When FRANK asked Hatzis to provide clarification, Hatzis told FRANK
 9 (an African-American man)that he "can be a scary-looking guy." FRANK said that this was
    not a fair statement, and asked Holt to remove these comments from his performance
10 review. FRANK also called and made a written complaint to Human Resources.
    •       Although FRANK followed all TESA policies, FRANK was told by manager Suzie
1 1 Hatzis that he "doesn't follow our rules", and "doesn't play ball."
    •       Suzy Hatzis also tried to write-up FRANK for taking a test-drive car from the Vegas
12 Hub to the call center, while FRANK was working at the Las Vegas TESLA location, when
    his use of the car was authorized.
13 FRANK's constructive termination was wrongful because he was forced to quit in part
    because of racial discrimination and harassment.
14 FRANK was retaliated against because he did an Audi e-tron commercial after getting
    permission to do so from TESLA. FRANK was also retaliated against for being African-
15
    American.
16

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26                                                   -3-
                                     Complaint— DFEH No. 202201-15856114
27
     Date Filed: January 14, 2022
28
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                                                  #:52




 1   VERIFICATION
 2 I, Sherry Graybehl D'Antony, am the Attorney in the above-entitled complaint. I
   have read the foregoing complaint and know the contents thereof. The matters
 3
   alleged are based on information and belief, which I believe to be true.
 4
   On January 14,2022, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                              Costa Mesa, CA
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26                                                    -4-
                                     Complaint — DFEH No. 202201-15856114   ,
27
     Date Filed: January 14, 2022
28
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                                                                      #:53



                       1STATE OF CALIFORNIA,COUNTY OF ORANGE
                        I am over 18 years of age and not a party to this action. My business address is 695 Town Center Drive,
                      2 Suite 700, Costa Mesa, California 92626. On January 25, 2022, I served the following document(s):

                      3 I served the above-referenced document(s) on the following person(s) in the following manner:

                      4 COMPLAINT FOR:
                       (1) CONSTRUCTIVE DISCHARGE;(2) HARASSMENT IN VIOLATION OF
                    5 FEHA,GOVERNMENT CODE SECTION 12940 ET SEQ.;(3)DISCRIMINATION IN VIOLATION
                        OF FEHA,GOVERNMENT CODE SECTION
                    6
                        12940 ET SEQ.;(4)FAILURE TO REMEDY AND/OR
                        PREVENT DISCRIMINATION AND HARASSMENT UNDER FEHA,GOVERNMENT CODE
                    7
                       SECTION 12940 ET SEQ;(5) VIOLATION OF LABOR CODE SECTION 1194 ET SEQ.
                    8 (6)FRAUDULENT INDUCEMENT IN VIOLATION OF LABOR CODE SECTION
                       970;(7)INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS;(8)FAILURE TO PROVIDE
                    9 MEAL BREAKS;(9)FAILURE TO PROVIDE REST BREAKS;(10) WRONGFUL FAILURE TO
                       PROMOTE IN VIOLATION OF FEHA,GOVERNMENT CODE SECTION 12940 ET SEQ.;
                   10 (11)FRAUD — NEGLIGENT MISREPRESENTATION;(12)FRAUD — CONCEALMENT
                       (13)PROMISSORY FRAUD(14) VIOLATION OF LABOR CODE 201
                   1 1 SUMMONS
                        CIVIL CASE COVER SHEET
                  .12    Tesla, Inc., a corporation
                         Registered Agents
                   13    CT Corporation System
                         28 Liberty Street
                   14
                         New York, NY 10005
                    15

                    16

                    17      [E] By U.S. Mail: I enclosed this/these document(s) in a sealed envelope or package addressed to the
                             person(s) at the address(es)above and placed the envelope for collection and mailing following our ordinary
                    18
                            business practices. I am readily familiar with our firm's practice for collecting and processing
                    19      correspondence for mailing. On the same day that correspondence is placed for collection and mailing, it is
                            deposited in the ordinary course of business with the United States Postal Service, in a sealed envelope with
                    20      postage fully prepaid. I am employed in the county where the mailing occurred. The envelope or package
                            was placed in the mail at Costa Mesa, California.
                    21
                            LI BY PERSONAL SERVICE: I caused the above-referenced document(s) to be personally delivered to
                    22      the person(s) at the address(es) above.

                  , 23      LI BY OVERNIGHT MAIL: I am readily familiar with the practice of the Law Offices of Bohm Wildish
                            & Matsen, LLP. for the collection and processing of correspondence for overnight delivery and known that
                   24       the document(s) described herein will be deposited in a box or other facility regularly maintained by
                            overnight mail service for overnight delivery.
                   25
                            9 BY E-MAIL/ELECTRONIC TRANSMISSION: On January 25, 2022, I caused the above-
                   26       referenced document(s) to be transmitted by electronic mail from clopez@bohmwildish.com to the e-mail
                            address(es) of the addressee(s) pursuant to Rule 2.251 of the California Rules of Court. The transmission
                   27       was complete and without error and I did not receive, within reasonable time after transmission, any
                            electronic message or other indication that the transmission was unsuccessful.
                   28
NAM WILDiSH & MATSEN. LLP
  695 Town Center Drive
        Suite 7C0
  Costa Mesa. CA 92626
     (714) 384-6500
  (714) 384-6501 (fax)
                            PROOF OF SERVICE
               Case 2:22-cv-01590-MEMF-AGR                     Document 1         Filed 03/09/22        Page 54 of 89 Page ID
                                                                     #:54



                     1     111 ELECTRONIC SERVICE [c-Service] VIA FIRST LEGAL / FILE & SERVEXPRESS / OINELEGAL: On
                           Tuesday, January 25, 2022, I caused the above-referenced document(s) to be electronically served by
                     2     submitting the electronic version of the document(s) to FIRST LEGAL / FILE & SERVEXPRESS /
                           ONELEGAI„ through their web interface at www.FirstLegal.com / www.secure.fileandservexpress.com /
                     3     www.OneLegal.com, which caused the documents to be sent by electronic transmission to the addressee(s)
                           listed on the service list. The transmission was reported as complete and without error.
                     4
                           I declare under penalty of perjury under the laws of the State of California that the above statements are true
                     5     and correct. Executed on January 25,2022 at Costa Mesa, California.

                     6

                     7                                                                                Cynthia Lopez

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  WILDISH & MATSEN. LI.P
695 Town Center Drive
      Suite 700
Costa Mesa. CA 92626
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Case 2:22-cv-01590-MEMF-AGR   Document 1   Filed 03/09/22   Page 55 of 89 Page ID
                                    #:55




                          EXHIBIT

                                    2
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                                        #:56



      BOHM WILDISH & MATSEN, LLP
  1
      JAMES G. BOHM (SBN 132430)
  2   JOANNE P. FREEMAN (SBN 140137)
      695 Town Center Drive, Suite 700
  3   Costa Mesa, CA 92626
      Telephone Number: 714-384-6500
  4
      Facsimile Number: 714-384-6501
  5
      Attorneys for Plaintiff NAYMON FRANK, an individual
  6
  7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
  8                 COUNTY OF LOS ANGELES – UNLIMITED JURISDICTION
  9
 10   NAYMON FRANK, an individual,              )    CASE NO. 22STCV01712
                                                )    FIRST AMENDED COMPLAINT FOR:
 11                        Plaintiffs,          )    (1) CONSTRUCTIVE DISCHARGE;
                                                )    (2) HARASSMENT IN VIOLATION OF
 12           v.                                )    FEHA, GOVERNMENT CODE SECTION
                                                     12940 ET SEQ.;
 13                                             )    (3) DISCRIMINATION IN VIOLATION OF
      TESLA, INC., a corporation; SUZIE HATZIS, )    FEHA, GOVERNMENT CODE SECTION
 14   an individual; and DOES 1 through 49,     )    12940 ET SEQ.;
      inclusive                                 )    (4) FAILURE TO REMEDY AND/OR
 15
                                                )    PREVENT DISCRIMINATION AND
 16                        Defendants           )    HARASSMENT UNDER FEHA,
                                                )    GOVERNMENT CODE SECTION 12940 ET
 17                                             )    SEQ;
                                                )    (5) VIOLATION OF LABOR CODE
 18                                                  SECTION 1194 ET SEQ.
                                                )
                                                     (6) FRAUDULENT INDUCEMENT IN
 19                                             )
                                                     VIOLATION OF LABOR CODE SECTION
                                                )    970;
 20                                             )    (7) INTENTIONAL INFLICTION OF
                                                )    EMOTIONAL DISTRESS;
 21
                                                )    (8) FAILURE TO PROVIDE MEAL
 22                                             )    BREAKS;
                                                )    (9) FAILURE TO PROVIDE REST
 23                                             )    BREAKS;
                                                )    (10) WRONGFUL FAILURE TO
 24                                                  PROMOTE IN VIOLATION OF FEHA,
                                                )
 25                                             )    GOVERNMENT CODE SECTION 12940 ET
                                                )    SEQ.;
 26                                                  (11) FRAUD – NEGLIGENT
                                                )    MISREPRESENTATION;
 27                                             )    (12) FRAUD – CONCEALMENT
                                                )    (13) PROMISSORY FRAUD
 28                                             )    (14) VIOLATION OF LABOR CODE 201



                                                  1
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  1          FOR HIS CLAIMS against Defendants TESLA, INC., (hereinafter “TESLA”), SUZIE
  2   HATZIS (hereinafter “HATZIS”), and DOES 1 through 49, inclusive, Plaintiff NAYMON FRANK,
  3   an individual, alleges as follows:
  4                                        GENERAL ALLEGATIONS
  5          1.      Plaintiff NAYMON FRANK (hereinafter referred to as “FRANK”) was an individual
  6   working at various locations in California (including Los Angeles) at the time of the actions alleged
  7   herein. FRANK is African-American.
  8          2.      Defendant TESLA is a corporation with places of business in Los Angeles County,
  9   San Diego County, and Orange County, in California. Defendant HATZIS is an individual living in
 10   Orange County, in California.
 11          3.      Plaintiff is ignorant of the true names and capacities of DOES, Defendants sued herein
 12   as DOES 1 through 50, inclusive, and therefore sues these Defendants by such fictitious names.
 13   Plaintiff will seek leave to amend this complaint to allege the true names and capacities of such
 14   Defendants when they have been ascertained.
 15          4.      Plaintiff is informed and believes and thereon alleges that at all relevant times
 16   defendants sued as DOE 1 through 50 inclusive, whether individuals, corporations, partnerships or
 17   otherwise, and the Defendants named herein, were and/or now are the agents, servants, employees,
 18   representatives, and alter egos of each other, and they are liable to the Plaintiff because in doing the
 19   things hereinafter alleged they were acting within the course and scope of their agency and/or
 20   authority, and pursuant to the permission and consent of the remaining Defendants, and/or their acts
 21   were consented to and/or ratified.
 22          5.      Plaintiff is informed and believes, and based thereon alleges, that defendant DOES,
 23   either some or all, are responsible in some manner for the events and happenings referred to herein
 24   and caused injury to Plaintiff as alleged herein. Plaintiff is informed and believes, and based thereon
 25   alleges, that some or all of the defendant DOES are and/or were agents and/or employees of
 26   Defendants and in doing the things hereinafter alleged, and at all times, were acting within the scope
 27   of their authority as such agents and/or employees, and at all times were acting within the scope of
 28   their authority as such agents and/or employees with the express, implied and/or ostensible authority



                                                       2
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  1   of these Defendants.
  2          6.      Plaintiff is informed and believes, and based thereon alleges, that Defendants, and all
  3   of the defendant DOES, ratified, authorized, and consented to all of the acts and/or conduct of each
  4   other as alleged herein.
  5          7.      Venue is appropriate in the County of Los Angeles because the Plaintiff was employed
  6   and the relevant acts and omissions occurred within the County of Los Angeles, as well as San Diego
  7   and Orange counties.
  8                                        SUMMARY OF FACTS
  9          8.      FRANK began his employment with TESLA on or about August 15, 2016, in sales,
 10   with the title of Owner Advisor in Newport Beach, California.
 11          9.      Recruiter Vincent Duran specifically targeted and recruited FRANK to work for
 12   TESLA. One of the incentives to accept the job was TESLA’s promise of stock options. However, as
 13   set forth in more detail, below, FRANK lost a significant amount of money in stock benefits

 14   (Restricted Stock Units, “RSUs”) because he was wrongfully constructively terminated prior to full
      vesting (i.e. FRANK’s employment was wrongfully constructively terminated before his stock
 15
      options fully vested at four years of employment with TESLA.) TESLA appears to intentionally
 16
      terminate employment before employees can receive vested stock benefits.
 17
             10.     While working as an Owner Advisor in Newport Beach, California, FRANK also was
 18
      a Regional Trainer, training employees at the Buena Park, Brea, and Costa Mesa locations, among
 19   other locations.
 20          11.     During the time that FRANK was a non-exempt employee at TESLA (i.e. from on or
 21   about August 15, 2016, until he became an Assistant Store Manager on or about November 1, 2018),
 22   FRANK consistently worked an average of 80 hours a week, without overtime compensation, meal
 23   breaks, or rest breaks.

 24          12.     On or about November 1, 2018, FRANK relocated to the UTC (University Town
      Center) TESLA location in San Diego; FRANK’s title changed to that of Assistant Store Manager.
 25
      Although TESLA told FRANK that his relocation costs would be paid, FRANK was never reimbursed
 26
      and ended up paying the costs of relocating to San Diego himself. FRANK became a salaried
 27
      employee when he became an Assistant Store Manager (prior to that time, FRANK was an hourly
 28
      employee.)


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             13.    FRANK accepted the new position of Assistant Store Manager (although the pay –
  1
      without the bonuses FRANK received as an Owner Advisor - was lower than the position of Owner
  2
      Advisor), because he had been informed by TESLA that the way to move up in the TESLA
  3
      corporation was to get into management. FRANK had the expectation that he would be eligible for
  4
      promotions in management once he accepted the Assistant Store Manager position.
  5          14.    However, despite the fact that during FRANK’s employment with TESLA at the
  6   Newport Beach and San Diego locations, the TESLA Newport Beach location was ranked first in
  7   sales, and the TESLA San Diego location was ranked second in sales, FRANK was never promoted
  8   above the title of Assistant Store Manager. FRANK estimates that he was passed over for a promotion
  9   at least four times while at TESLA. For example, FRANK trained employee Chris Bisson, and then

 10   Bisson was promoted to Store Manager at the San Diego UTC location (while FRANK remained
      Assistant Store Manager at the same location.)
 11
             15.    Prior to working at TESLA, FRANK was a professional football player for the Green
 12
      Bay Packers, an Oregon state police officer, a part-time professional model and actor, and worked in
 13
      store management at Iniqlo.
 14
             16.    On December 13, 2019, FRANK received word that he had been selected for an Audi
 15   commercial for the Audi e-tron (to be shown during Super Bowl 2020.) Although FRANK had never
 16   been told of and had never received from TESLA any policy prohibiting him from working as an
 17   actor while employed at TESLA (or specifically appearing in a car commercial), out of over-
 18   abundance of caution, FRANK asked his boss Kristina Holt (Store Manager) whether it would be
 19   okay if he appeared in the Audi e-tron commercial, which would air during the 2020 Super Bowl.

 20   More specifically, FRANK told Holt on December 14, 2019, that he had been selected to appear in
      the Audi commercial, and Holt told FRANK that she had cleared FRANK’s appearing in the Audi e-
 21
      tron commercial with SUZIE HATZIS (Regional Manager) the same day. Holt specifically gave
 22
      FRANK the days off that FRANK needed to shoot the Audi e-tron commercial (i.e. December 21 and
 23
      December 22, 2019.) Not only was FRANK given the days off for the commercial shoot, but Hatzis
 24
      announced to the entire leadership team at the Carlsbad, California TESLA Location that FRANK
 25   would be appearing in the Audi e-tron commercial and “wasn’t that cool.” No one said anything to
 26   FRANK about a potential conflict of interest in appearing in a commercial for a competitor. FRANK
 27   was never hired by or compensated by Audi. Rather, FRANK’s agents communicated with 72 and
 28   Sunny (an advertising agency) to cast FRANK in the Audi e-tron commercial.



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               17.      The Audi e-tron commercial aired during the Super Bowl on January 31, 2020. On
  1
      February 1, 2020, which was FRANK’s first day on the job as Assistant Store Manager in Santa
  2
      Monica, Isabella Merrick called FRANK and told him that Suzie Hatzis had been fired and that she
  3
      (Merrick) was offering FRANK the opportunity to resign (which would allow for the possibility of
  4
      being re-hired); if FRANK didn’t resign by the end of the call with Merrick, Merrick told FRANK he
  5   would be fired. Not having any other option than to be fired (with no chance of being re-hired),
  6   FRANK resigned (i.e. he was constructively terminated.) The pre-textual reason for asking FRANK
  7   to resign or be terminated was that FRANK’s appearing in an Audi e-tron commercial was a conflict
  8   of interest. Merrick, at the time, knew that FRANK had requested and was given permission by
  9   TESLA management to appear in the Audi e-tron commercial.

 10            18.      FRANK lost a significant amount of money in in stock benefits (Restricted Stock
      Units, “RSUs”) because he was wrongfully constructively terminated prior to full vesting (i.e.
 11
      FRANK’s employment was wrongfully constructively terminated before his stock options fully
 12
      vested at four years of employment with TESLA.) FRANK’s TESLA stock would have vested in
 13
      June of 2020; a five-way stock split occurred in March of 2020, which greatly increased the value of
 14
      TESLA stock. In addition, FRANK also lost his Performance Bonus (which were typically awarded
 15   the month following the end of the Q4 deliveries in January/February. Performance bonuses were
 16   tied to annual reviews. FRANK had not yet received his 2019 annual review.) FRANK is informed
 17   and believes that TESLA makes a pattern out of terminating employees shortly before their RSU’s
 18   vest under various pretexts.
 19            19.      FRANK later learned that Elon Musk had made the decision to terminate FRANK (i.e.

 20   to give him the option of resigning or to be terminated.) Elon Musk knew who FRANK was because
      the first year that FRANK worked at TESLA, an auto-pilot Tesla car that FRANK was in crashed.
 21
      The other people that were in the car went to the media with the story; FRANK did not talk to the
 22
      media.
 23
               20.      FRANK experienced a hostile work environment during his employment with TESLA,
 24
      including but not limited to:
 25
               •     Being harassed because of his race—African-American.
 26            •     Not being promoted at least four times because of his race.
 27            •     During FRANK’s employment at TESLA, every African-American salesperson at the
 28                  UTC San Diego TESLA location was fired.



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                 •    To FRANK’s knowledge he was the only African-American manager at TESLA during
  1
                      the time he was employed, throughout the entire company.
  2
                 •    FRANK was told by manager Suzie Hatzis during a performance review that he looked
  3
                      “intimidating.” When FRANK asked Hatzis to provide clarification, Hatzis told FRANK
  4
                      (an African-American man) that he “can be a scary-looking guy.” FRANK said that this
  5
                      was not a fair statement, and asked Holt to remove these comments from his performance
  6                   review. FRANK also called and made a written complaint to Human Resources.
  7              •    Although FRANK followed all TESA policies, FRANK was told by manager Suzie Hatzis
  8                   that he “doesn’t follow our rules”, and “doesn’t play ball.”
  9              •    Suzy Hatzis also tried to write-up FRANK for taking a test-drive car from the Vegas Hub
 10                   to the call center, while FRANK was working at the Las Vegas TESLA location, when his
 11                   use of the car was authorized.

 12        21.       FRANK also experienced wage and hour violations: 1) While an hourly employee,
 13   FRANK was forced to clock out for lunch but required to continue working; 2) FRANK’s timecards
 14   were altered without his consent to give the appearance of no wage and hour meal violations; 3)
 15   FRANK did not receive overtime while a salaried employee; 4) As of February 1, 2020, FRANK had
 16   not yet received his 2019 annual review, and did not receive a Performance Bonus, to which he was
 17   entitled.
 18        22.       Prior to filing this Complaint, Plaintiff fulfilled any legal requirement or exhausted any
 19   administrative remedy imposed on him by having filed the substance of claims alleged herein with
 20   the California Department of Fair Employment and Housing (hereinafter “DFEH”) and has received
 21   Right to Sue Letters from the DFEH. (Exhibit A) Plaintiff has therefore substantially complied with
 22   all requirements for the filing of this Complaint and has exhausted his administrative remedies prior
 23   to filing, commencing, and serving the within action.
 24   //
 25   //
 26   //
 27   //
 28   //



                                                            6
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  1                                           FIRST CAUSE OF ACTION
  2                                         CONSTRUCTIVE DISCHARGE
  3                    (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
  4            23.    Plaintiff incorporates by this reference as though set forth in full the allegations of
  5   the preceding paragraphs of this Complaint.
  6            24.    Defendant Tesla (through its officers, directors, managing agents, or supervisory
  7   employees), intentionally created or knowingly permitted working conditions to exist that were so
  8   intolerable that a reasonable person in Plaintiff’s position would have no reasonable alternative
  9   except to resign. Plaintiff resigned because of these working conditions, including, but not limited
 10   to:    Racial harassment and discrimination (including failure to promote) and TESLA telling
 11   FRANK that he needed to resign (or be fired), after FRANK appeared in a commercial that he had
 12   specifically been given permission by his supervisor to appear in.
 13            25.    At all times herein relevant, there was an employer/employee, agency, or other
 14   qualified relationship between Plaintiff and Defendants. California Government Code § 12940 et
 15   seq.
 16            26.    Plaintiff’s constructive termination was wrongful because he was forced to quit in
 17   part because of racial discrimination and harassment in violation of California Government Code §
 18   12940 et. seq. and the administrative regulations of the Fair Employment and Housing Act.
 19            27.    Defendants’ conduct above described is in violation of various statues and the
 20   decisional law of this state and country, including but not limited to the FEHA, California
 21   Government Code § 12940 et. seq.; Title VII Civil Rights Act of 1964; Scott v. Pacific Gas and Elec.
 22   Co. (1995) 11 Cal. 4th 454, 464; Stephens v. Coldwell Banker Commercial Group, Inc. (1988) 199
 23   Cal. App. 3d 1394, 1399-1401; California Constitution Article I, Section 8.
 24            28.    As a direct and proximate result of Defendants’ unlawful conduct as alleged herein,
 25   Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension, anxiety, depression,
 26   lowered self-esteem, sleeplessness and severe emotional distress.
 27            29.    As a further direct and proximate result of the unlawful conduct, Plaintiff has
 28   suffered and continues to suffer loss of income, loss of stock benefits, loss of earning capacity, loss



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  1   of job opportunity and other losses.
  2          30.     Defendants’ conduct described above was willful, despicable, knowing, and
  3   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
  4   an amount according to proof.
  5          31.     Plaintiff also seeks attorneys’ fees in an amount according to proof.
  6
  7                                          SECOND CAUSE OF ACTION
  8                                 HARASSMENT IN VIOLATION OF FEHA,
  9                              GOVERNMENT CODE SECTION 12940 ET SEQ.
 10                (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
 11          32.     Plaintiff incorporates by this reference as though set forth in full the allegations of
 12   the preceding paragraphs of this Complaint.
 13          33.     FRANK was subjected to a workplace permeated with discriminatory intimidation,
 14   ridicule and insult that was sufficiently severe or pervasive to alter the conditions of his employment
 15   and to create an abusive working environment.
 16          34.     Defendants blatantly encouraged an environment for harassment. During the relevant
 17   periods of this Complaint, Defendants and each of them harassed and intimidated the Plaintiff by
 18   creating and maintaining a hostile work environment through pervasive and continuous harassment
 19   and discrimination against FRANK that was so offensive and severe that it substantially detrimentally
 20   altered the terms and conditions of Plaintiff’s employment. The aforementioned acts and omissions
 21   constitute harassment and a hostile work environment under Government Code §12940(j) et. seq.
 22          35.     As a result of Defendants’ conduct during their employment, Plaintiff has suffered
 23   and continues to suffer embarrassment, humiliation, emotional distress and mental anguish, all of
 24   which contributes to his damages in an amount according to proof in excess of the jurisdictional
 25   minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to prosecute this
 26   action and Plaintiff is entitled to attorney’s fees and costs in accordance with case and statutory
 27   authority.
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  1          36.     Defendants’ conduct described above was willful, despicable, knowing, and
  2   intentional; accordingly, Plaintiff seeks an award of punitive damages and exemplary damages in an
  3   amount according to proof.
  4          37.     Plaintiff is informed and believes and based thereon alleges that in doing the acts or
  5   failing to take action as herein alleged, TESLA, and DOES 1 through 10 have acted and are acting
  6   with full knowledge of the consequences and harm being caused to Plaintiff. Such conduct is
  7   fraudulent, willful, oppressive and malicious such that Plaintiff is entitled to punitive and exemplary
  8   damages against TESLA in accordance with Civil Code § 3294.
  9
 10                                     THIRD CAUSE OF ACTION
 11                           DISCRIMINATION IN VIOLATION OF FEHA,
 12                         GOVERNMENT CODE SECTION 12940 ET SEQ.
 13                             (Plaintiff FRANK against Defendant TESLA
 14                                        and DOES 1 through 10 )
 15
           38.        Plaintiff incorporates by this reference as though set forth in full the allegations of
 16
      the preceding paragraphs of this Complaint.
 17
           39.       FRANK was subjected to a workplace permeated with discriminatory intimidation,
 18
      ridicule and insult that sufficiently severe or pervasive to alter the conditions of his employment and
 19
      to create a discriminatory and abusive working environment. Throughout his employment with
 20
      Defendants, FRANK was subjected to racial discrimination, including but not limited to, being
 21
      passed over for promotion at least four times and racially based comments and insults.
 22
             40.     Defendants blatantly encouraged an environment for racial harassment and
 23
 24   discrimination. During the relevant periods of this Complaint, Defendants and each of them harassed

 25   intimidated, and discriminated against Plaintiff by creating and maintaining a hostile work

 26   environment through pervasive and continuous harassment and discrimination against FRANK that

 27   was so offensive and severe that it substantially detrimentally altered the terms and conditions of

 28



                                                       9
                                            FIRST AMENDED COMPLAINT
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  1   Plaintiff’s employment.      The aforementioned acts and omissions constitute discrimination,
  2   harassment and a hostile work environment under Government Code §12940 et. seq.
  3          41.      As a result of Defendants’ conduct during their employment of Plaintiff, Plaintiff
  4   has suffered and continues to suffer embarrassment, humiliation, emotional distress and mental
  5   anguish, all of which contributes to her damages in an amount according to proof in excess of the
  6
      jurisdictional minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to
  7
      prosecute this action and Plaintiff is entitled to attorney’s fees and costs in accordance with case and
  8
      statutory authority.
  9
             42.     Defendants’ conduct described above was willful, despicable, knowing, and
 10
      intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
 11
      an amount according to proof. Plaintiff is informed and believes and based thereon alleges that in
 12
      doing the acts or failing to take action as herein alleged, TESLA, and DOES 1 through 9 have acted
 13
      and are acting with full knowledge of the consequences and harm being caused to Plaintiff. Such
 14
 15   conduct is fraudulent, willful, oppressive and malicious such that Plaintiff is entitled to punitive and

 16   exemplary damages against TESLA in accordance with Civil Code §3294.

 17
 18                                    FOURTH CAUSE OF ACTION

 19                          FAILURE TO REMEDY AND/OR PREVENT

 20                          DISCRIMINATION AND HARASSMENT IN
 21                VIOLATION OF FEHA, GOVERNMENT CODE SECTION 12940 ET SEQ.
 22                  (Plaintiff FRANK against Defendant TESLA and DOES 1 through 10)
 23          43.     Plaintiff incorporates by this reference as though set forth in full the allegations of
 24   the preceding paragraphs of this Complaint.
 25
 26
 27
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                                                       10
                                            FIRST AMENDED COMPLAINT
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  1          44.      FRANK was subjected to a workplace permeated with discriminatory intimidation
  2   that was sufficiently severe or pervasive to alter the conditions of his employment and to create an
  3   abusive working environment. Throughout his employment with the Defendants, FRANK was
  4   subjected to harassment by Suzie Hatzis; and others employed by Defendant Tesla.
  5          45.     Defendants knew of the harassment and/or reasonably should have known of the
  6
      harassment as Defendants had received multiple complaints from employees about Suzie Hatzis and
  7
      failed to conduct an investigation in good faith or act to prevent and/or remedy against the
  8
      harassment in violation of Government Code §12940(j)(1). Further, Defendants failed to take all
  9
      reasonable measures to prevent harassment from occurring in violation of Government Code
 10
      §12940(k). Plaintiff filed a timely charge of discrimination and harassment with the California
 11
      Department of Fair Employment and Housing and received a Right to Sue Letter.
 12
             46.     As a result of Defendants’ conduct during their employment of Plaintiff, Plaintiff has
 13
      suffered and continues to suffer embarrassment, humiliation, emotional distress and mental anguish,
 14
 15   all of which contributes to her damages in an amount according to proof in excess of the

 16   jurisdictional minimums of this Court. Moreover, Plaintiff was forced to employ attorneys to

 17   prosecute this action and Plaintiff is entitled to attorney’s fees and costs in accordance with case and

 18   statutory authority.

 19          47.     Defendants’ conduct described above was willful, despicable, knowing, and
 20   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
 21   an amount according to proof.
 22
 23                                          FIFTH CAUSE OF ACTION
 24                          VIOLATION OF LABOR CODE SECTION 1194 ET. SEQ.
 25
                     (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
 26
             48.     Plaintiff incorporates by this reference as though set forth in full the allegations of
 27
      the preceding paragraphs of this Complaint.
 28



                                                       11
                                            FIRST AMENDED COMPLAINT
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  1           49.    Plaintiff performed work for Defendant Tesla, including overtime work.
  2           50.    Defendant Tesla knew or should have known that Plaintiff worked overtime hours.
  3           51.    Plaintiff was not paid for overtime work by Defendant Tesla.
  4           52.    Plaintiff is entitled to overtime wages, interest thereon, attorney’s fees, and costs of
  5   suit, in addition to waiting time penalties.
  6
              53.    Waiting time penalties are for Defendant failing to timely pay all overtime wages
  7
      with Plaintiff’s final paycheck. The waiting time penalty is Plaintiff’s average daily wage, for 30
  8
      days.
  9
                                              SIXTH CAUSE OF ACTION
 10
              FRAUDULENT INDUCEMENT IN VIOLATION OF LABOR CODE SECTION 970
 11
                               (Plaintiff FRANK against Defendant TESLA, and DOES
 12
                                                      1 through 10)
 13
              54.    Plaintiff incorporates by this reference as though set forth in full the allegations of
 14
      the preceding paragraphs of this Complaint.
 15
              55.    Labor Code Section 970 provides as follows:
 16
              No person, or agent or officer thereof, directly or indirectly, shall influence, persuade, or
 17
              engage any person to change from one place to another in this State or from any place
 18
              outside to any place within the State, or from any place within the State to any place
 19
              outside, for the purpose of working in any branch of labor, through or by means of
 20
              knowingly false representations, whether spoken, written, or advertised in printed form,
 21
              concerning either:
 22
              (a) The kind, character, or existence of such work;
 23
              (b) The length of time such work will last, or the compensation therefor;
 24
              (c) The sanitary or housing conditions relating to or surrounding the work;
 25
              (d) The existence or nonexistence of any strike, lockout, or other labor dispute affecting it
 26
              and pending between the proposed employer and the persons then or last engaged in the
 27
              performance of the labor for which the employee is sought. (Emphasis Added.)
 28           56.    Recruiter Vincent Duran specifically targeted and recruited FRANK to work for


                                                        12
                                             FIRST AMENDED COMPLAINT
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      TESLA. One of the incentives to accept the job was TESLA’s promise of stock options. However, as
  1
      set forth in more detail, below, FRANK lost a significant amount of money in stock benefits
  2
      (Restricted Stock Units, “RSUs”) because he was wrongfully constructively terminated prior to full
  3
      vesting (i.e. FRANK’s employment was wrongfully constructively terminated before his stock
  4
      options fully vested at four years of employment with TESLA.) TESLA appears to intentionally
  5   terminate employment before employees can receive vested stock benefits.
  6           57.    FRANK also seeks damages for the costs of uprooting from Orange County, California
  7   to San Diego, California, expenses incurred in relocation, and the loss of security and income
  8   associated with this employment. See Lazar v. Superior Court, 12 Cal. 4th 631, 648-649 (1996).
  9
 10
                                           SEVENTH CAUSE OF ACTION
 11
                           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 12
                              (Plaintiff FRANK against Defendant TESLA, and DOES
 13
                                                      1 through 10)
 14
             58.     Plaintiff incorporates by this reference as though set forth in full the allegations of
 15
      the preceding paragraphs of this Complaint.
 16
             59.     Defendants’ conduct caused Plaintiff to suffer severe emotional distress (including,
 17
      but not limited to: stress, anxiety, depression, headaches, sleep problems)
 18
             60.     As a result of Defendants’ conduct, Plaintiff suffered severe emotional distress, as
 19
      indicated above.
 20
             61.     As a result of Defendants’ conduct, Plaintiff was harmed, and Defendants’ behavior
 21
      was a substantial factor in causing Plaintiff harm.
 22
             62.     As a direct and proximate result of said tortuous acts, omissions or conduct of
 23
      Defendants, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
 24
      general and special) and is certain in the future to sustain and incur losses (both incidental and
 25
      consequential).
 26
             63.     The acts of Defendants were done with malice in that Defendants’ conduct was
 27
      intended by the Defendants to cause injury to Plaintiff or was despicable conduct which was carried
 28



                                                       13
                                            FIRST AMENDED COMPLAINT
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  1   on by Defendants with a willful and conscious disregard of the rights of Plaintiff. In addition,
  2   Defendants’ actions were oppressive in that Defendants’ conduct was despicable and subjected
  3   Plaintiff to cruel and unjust hardship in conscious disregard of his rights. Therefore, an award of
  4   punitive damages is sought.
  5
  6                                          EIGHTH CAUSE OF ACTION
  7                                   FAILURE TO PROVIDE MEAL BREAKS
  8                    (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
  9             64.   Plaintiff incorporates by this reference as though set forth in full the allegations of
 10   the preceding paragraphs of this Complaint.
 11             65.   California Industrial Welfare Commission (“IWC”) Wage order No. 4-2001 mandates
 12   that employees are entitled to an off-duty meal break of not less than 30 minutes for every five-hour
 13   period worked and a second meal break of not less than 30 minutes for every 10 hour period
 14   worked. The meal break must be for an uninterrupted 30 minutes, during which employees must be
 15   relieved of all duties. California Labor Code Section 512 codifies this requirement. In addition,
 16   California Labor Code Section 226.7 states that “if an employer fails to provide an employee a meal
 17   period or rest period in accordance with an applicable order of the Industrial Welfare Commission,
 18   the employer shall pay the employee one additional hour of pay at the employee’s regular rate of
 19   compensation for each work day that the meal or rest period is not provided.”
 20             66.   While Plaintiff was an hourly employee, Plaintiff was consistently required by
 21   Defendants to work without being provided the required thirty (30) minute uninterrupted meal
 22   breaks.
 23             67.   Plaintiff is entitled to recover an amount equal to one hour of wages per missed meal
 24   break, in addition to interest, applicable penalties, attorneys’ fees and costs.
 25             68.   Pursuant to California Labor Code Section 558, any employer who violates any
 26   provision of an IWC order is subject to a civil penalty of fifty dollars ($50) for an initial violation
 27   and one hundred ($100) for each subsequent violation per pay period. These civil penalties are
 28   recoverable by Plaintiff.



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  1                                           NINTH CAUSE OF ACTION
  2                                    FAILURE TO PROVIDE REST BREAKS
  3                    (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
  4          69.     Plaintiff incorporates by this reference as though set forth in full the allegations of
  5   the preceding paragraphs of this Complaint.
  6          70.      California Industrial Welfare Commission (“IWC”) Wage order No. 4-2001
  7   mandates that employees are entitled to a paid, off-duty 10-minute rest break for every
  8   approximately four-hour period worked. California Labor Code Section 226.7 states that “if an
  9   employer fails to provide an employee a meal period or rest period in accordance with an applicable
 10   order of the Industrial Welfare Commission, the employer shall pay the employee one additional
 11   hour of pay at the employee’s regular rate of compensation for each work day that the meal or rest
 12   period is not provided.” Plaintiff consistently worked with no rest breaks.
 13          71.     Throughout Plaintiff’s employment while he was an hourly employee, Defendants
 14   prohibited Plaintiff from taking a 10-minute rest break for every period of approximately four hours
 15   worked.
 16          72.     Plaintiff is entitled to recover an amount equal to one hour of wages per missed rest
 17   break, in addition to interest, applicable penalties, attorneys’ fees and costs.
 18          73.     Pursuant to California Labor Code Section 558, any employer who violates any
 19   provision of an IWC order is subject to a civil penalty of fifty dollars ($50) for an initial violation
 20   and one hundred ($100) for each subsequent violation per pay period. These civil penalties are
 21   recoverable by Plaintiff.
 22
 23                                           TENTH CAUSE OF ACTION
 24                    WRONGFUL FAILURE TO PROMOTE IN VIOLATION OF FEHA,
 25                               GOVERNMENT CODE SECTION 12940 ET SEQ.
 26                    (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
 27          74. Plaintiff incorporates by this reference as though set forth in full the allegations of
 28   the preceding paragraphs of this Complaint.



                                                        15
                                             FIRST AMENDED COMPLAINT
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  1          75. Plaintiff believes and thereon alleges that his race/national origin/ancestry was a factor in
  2   Defendants’ wrongful denials of promotion, as stated, above, and incorporated herein. More
  3   specifically: FRANK was not promoted at least four times because of his race; During FRANK’s
  4   employment at TESLA, every African-American salesperson at the UTC San Diego TESLA location
  5   was fired; To FRANK’s knowledge he was the only African-American manager at TESLA during the
  6   time he was employed, throughout the entire company.
  7          76.      At all times herein relevant, there was an employer/employee, agency, or other
  8   qualified relationship between Plaintiff and Defendants. California Government Code § 12940 et
  9   seq.
 10          77.      Plaintiff’s denials of promotion were wrongful because he was denied promotions
 11   because of his race/national origin/ancestry in violation of California Government Code § 12940 et.
 12   seq.
 13          78.      Defendants’ conduct above described is in violation of various statues and the
 14   decisional law of this state and country, including but not limited to the FEHA, California
 15   Government Code § 12940 et. seq.; Title VII Civil Rights Act of 1964; Scott v. Pacific Gas and Elec.
 16   Co. (1995) 11 Cal. 4th 454, 464; Stephens v. Coldwell Banker Commercial Group, Inc. (1988) 199
 17   Cal. App. 3d 1394, 1399-1401; California Constitution Article I, Section 8.
 18          79.      As a direct and proximate result of Defendants’ unlawful conduct as alleged herein,
 19   Plaintiff has suffered extreme and severe anguish, humiliation, anger, tension, anxiety, depression,
 20   lowered self-esteem, sleeplessness and severe emotional distress.
 21          80.      As a further direct and proximate result of the unlawful conduct, Plaintiff has
 22   suffered and continues to suffer loss of income, loss of earning capacity, loss of job opportunity and
 23   other losses.
 24          81.      Defendants’ conduct described above was willful, despicable, knowing, and
 25   intentional; accordingly, Plaintiff seeks and award of punitive damages and exemplary damages in
 26   an amount according to proof.
 27          82.      Plaintiff also seeks attorneys’ fees in an amount according to proof.
 28



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                                            FIRST AMENDED COMPLAINT
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  1                                   ELEVENTH CAUSE OF ACTION
  2                             FRAUD – NEGLIGENT MISREPRESENTATION
  3       (Plaintiff FRANK against Defendant TESLA, Defendant SUZIE HATZIS and DOES 1
  4                                                 through 9)
  5          83.     Plaintiff realleges and incorporates each and every allegation contained in the
  6   preceding paragraphs of this Complaint as though fully set forth herein, and further alleges:
  7          84.     Plaintiff was harmed because Defendants negligently misrepresented facts.
  8
             85.     Defendants represented to Plaintiff that certain facts were true, including, but not
  9
      limited to, that Plaintiff had permission to and could appear in a commercial for the Audi e-tron (to
 10
      be shown during Super Bowl 2020), and specifically gave Plaintiff the days off from work to shoot
 11
      the commercial for the Audi e-tron.
 12
             86.     Defendants’ representation was not true. Defendants’ statements were
 13
      representations of fact because Defendants had special knowledge about the subject matter that
 14
      Plaintiff did not have.
 15
             87.      Defendants made representations, not as a casual expression of belief, but in a way
 16
 17   that declared the matter to be true as Plaintiff’s employer.

 18          88.      Defendants had a relationship of trust and conﬁdence with Plaintiff as Plaintiff’s

 19   employer, and as such, Defendants had reason to expect that Plaintiff would rely on their opinion.

 20          89.      Even if Defendants believed that these representations were true, Defendants had no

 21   reasonable grounds for believing these representations were true when they made the
 22   representations since they did not clear Plaintiff’s appearing in a commercial for the Audi e-tron
 23   with Elon Musk (who later directed that Plaintiff resign or be fired in part for appearing in the
 24   commercial.)
 25          90.       Defendants intended that Plaintiff rely on these representations.
 26          91.       Plaintiff reasonably relied on Defendants’ representations.
 27
             92.       Plaintiff was harmed as a result of Defendants’ false representations. Plaintiff’s
 28



                                                       17
                                            FIRST AMENDED COMPLAINT
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  1   reliance on Defendants’ representations was a substantial factor in causing his harm.
  2           93.        As a direct and proximate result of said tortuous acts, omissions or conduct of
  3   Defendants, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
  4   general and special) and is certain in the future to sustain and incur losses (both incidental and
  5   consequential).
  6
              94.       The actions of Defendants were done with malice in that Defendants’ conduct was
  7
      despicable conduct which was carried on by the Defendants with a willful and conscious disregard
  8
      of the rights of Plaintiff.
  9
              95.       Defendants were aware of the probable dangerous consequences of their conduct,
 10
      and willfully and deliberately failed to avoid those consequences. In addition, Defendants’ actions
 11
      were oppressive in that Defendants’ conduct was despicable and subjected Plaintiff to cruel and
 12
      unjust hardship in knowing disregard of Plaintiff.
 13
              96.       Defendants’ actions were also fraudulent in that Defendants negligently
 14
 15   misrepresented and concealed material facts known to the Defendants with an intention on the part

 16   of the Defendants of thereby depriving Plaintiff of property or legal rights or otherwise causing

 17   injury. Therefore, an award of punitive damages is sought.

 18
 19                                     TWELFTH CAUSE OF ACTION
 20                                        FRAUD – CONCEALMENT
 21     (Plaintiff FRANK against Defendant TESLA, Defendant HATZIS, and DOES 1 through 9)
 22           97.     Plaintiff realleges and incorporates each and every allegation contained in the
 23   preceding paragraphs of this Complaint as though fully set forth herein, and further alleges:
 24           98.     Plaintiff was harmed because Defendants concealed certain information.
 25           99.     Plaintiff was in a fiduciary relationship with Defendants because they were his
 26
      employer.
 27
              100.      Defendants intentionally failed to disclose certain facts to Plaintiff; disclosed some
 28



                                                         18
                                              FIRST AMENDED COMPLAINT
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  1   facts to Plaintiff but intentionally failed to disclose other facts, making the disclosure deceptive; and
  2   intentionally failed to disclose certain facts that were known only to them and that Plaintiff could
  3   not have discovered.
  4           101.    Plaintiff did not know of the concealed facts.
  5           102.    Defendants intended to deceive Plaintiff by concealing the facts.
  6
              103.    Had the omitted information been disclosed, Plaintiff reasonably would have
  7
      behaved differently.
  8
              104.    Plaintiff was harmed as a result of this failure to disclose material information by his
  9
      employer.
 10
              105.    Defendants’ concealment was a substantial factor in causing Plaintiff’s harm.
 11
              106.    As a direct and proximate result of said tortuous acts, omissions or conduct of
 12
      Defendant, as herein alleged, Plaintiff has sustained and incurred injuries and damages (both
 13
      general and special), and is certain in the future to sustain and incur losses (both incidental and
 14
 15   consequential).

 16           107.    The actions of Defendants were done with malice in that Defendants’ conduct was

 17   despicable conduct which was carried on by the Defendants with a willful and conscious disregard

 18   of the rights of Plaintiff.

 19           108.    Defendants were aware of the probable dangerous consequences of their conduct,
 20   and willfully and deliberately failed to avoid those consequences. In addition, Defendants’ actions
 21   were oppressive in that Defendants’ conduct was despicable and subjected Plaintiff to cruel and
 22   unjust hardship in knowing disregard of Plaintiff.
 23           109.    Defendants’ actions were also fraudulent in that Defendants negligently
 24   misrepresented and concealed material facts known to the Defendants with an intention on the part
 25
      of the Defendants of thereby depriving Plaintiff of property or legal rights or otherwise causing
 26
      injury. Therefore, an award of punitive damages is sought.
 27
 28



                                                        19
                                             FIRST AMENDED COMPLAINT
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  1                                     THIRTEENTH CAUSE OF ACTION
  2                                             PROMISSORY FRAUD
  3                           (Plaintiff FRANK against Defendant TESLA, and DOES
  4                                                   1 through 10)
  5          110.    Plaintiff incorporates by this reference as though set forth in full the allegations of
  6   the preceding paragraphs of this Complaint.
  7          111.    A promise was made to Plaintiff regarding a material fact (i.e. that Plaintiff would be
  8   paid for relocation expenses for moving from Orange County, California to San Diego, California.)
  9          112. At the time of making this promise, Defendants did not intent to pay Plaintiff for
 10   relocation expense.
 11          113. Defendants’ promise to pay Plaintiff for relocation expenses was made with the intent
 12   to deceive and the intent to induce Plaintiff to relocate to San Diego and to pay for his own
 13   relocation expenses.
 14          114. Plaintiff relied on Defendants’ promise and relocated to San Diego.
 15          115. Defendants did not pay for Plaintiff’s relocation expenses as promised.
 16          116. Plaintiff seeks damages for the costs of uprooting from
 17   Orange County, California to San Diego, California, expenses incurred in relocation, and the loss of
 18   security and income associated with this employment. See Lazar v. Superior Court, 12 Cal. 4th 631,
 19   648-649 (1996).
 20
 21                                     FOURTEENTH CAUSE OF ACTION
 22                               VIOLATION OF LABOR CODE SECTION 201
 23                     (Plaintiff FRANK against Defendant TESLA, and DOES 1 through 10)
 24
             117.    Plaintiff incorporates by this reference as though set forth in full the allegations of
 25
      the preceding paragraphs of this Complaint.
 26
             118.    Defendants violated Labor Code Section 201 by failing to pay Plaintiff a
 27
      Performance-based Bonus, as set forth in more detail, above.
 28



                                                       20
                                            FIRST AMENDED COMPLAINT
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  1          119. Labor Code Section 201(a) provides: If an Employer discharges an Employee, the
  2   wages earned and unpaid at the time of the discharge are due and payable immediately.
  3          120. Plaintiff is entitled to his unpaid Performance Bonus, interest thereon, and waiting time
  4   penalties. Performance-based bonuses are considered earned wages. Therefore, Defendant is liable
  5   for “waiting time penalties” in addition to unpaid Performance Bonus wages and interest thereon,
  6   for failing to timely pay out the Performance Bonus with Plaintiff’s final paycheck. The waiting
  7   time penalty is Plaintiff’s average daily wage, for 30 days.
  8
  9                                         PRAYER FOR RELIEF
 10          1.      For compensatory damages;
 11          2.      For special damages;
 12          3.      For consequential damages according to proof;
 13          4.      For incidental damages according to proof;
 14          5.      For prejudgment interest;
 15          6.      For costs incurred, including reasonable attorneys’ fees;
 16          7.      For punitive damages as to Defendants; and
 17          8.      For any other and further relief as the Court may deem proper.
 18
 19   Dated: January 15, 2022                       BOHM WILDISH & MATSEN, LLP
 20
                                            By:     ________________________________________
 21                                                 JAMES G. BOHM
                                                    JOANNE P. FREEMAN
 22                                                 Attorneys for Plaintiff
                                                    NAYMON FRANK
 23
 24
 25
 26
 27
 28



                                                       21
                                            FIRST AMENDED COMPLAINT
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  1                                   DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a jury trial pursuant to California Code of Civil Procedure §631.
  3
  4   Dated: January 15, 2022                    BOHM WILDISH & MATSEN, LLP
  5
  6                                      By:     ________________________________________
                                                 JAMES G. BOHM
  7                                              JOANNE P. FREEMAN
                                                 Attorneys for Plaintiff
  8
                                                 NAYMON FRANK
  9
 10
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                                         FIRST AMENDED COMPLAINT
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                     EXHIBIT A
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                                                              #:79
          STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                              GAVIN NEWSOM, GOVERNOR

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                               KEVIN KISH, DIRECTOR

          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
          http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


  January 14, 2022

  Sherry Graybehl Dantony
  695 Town Center Drive, 700
  Costa Mesa, California 92626

  RE:     Notice to Complainant’s Attorney
          DFEH Matter Number: 202201-15856114
          Right to Sue: FRANK / TESLA, INC.

  Dear Sherry Graybehl Dantony:

  Attached is a copy of your complaint of discrimination filed with the Department of Fair
  Employment and Housing (DFEH) pursuant to the California Fair Employment and
  Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
  Notice of Case Closure and Right to Sue.

  Pursuant to Government Code section 12962, DFEH will not serve these
  documents on the employer. You must serve the complaint separately, to all named
  respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
  information regarding filing a private lawsuit in the State of California. A courtesy "Notice
  of Filing of Discrimination Complaint" is attached for your convenience.

  Be advised that the DFEH does not review or edit the complaint form to ensure that it
  meets procedural or statutory requirements.

  Sincerely,


  Department of Fair Employment and Housing




  Form 0T_157EAC345513 (Revised 12/21)                                                                     DFEH-ENF 80 RS
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                                                              #:80
          STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                              GAVIN NEWSOM, GOVERNOR

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                               KEVIN KISH, DIRECTOR

          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
          http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


  January 14, 2022

  RE:     Notice of Filing of Discrimination Complaint
          DFEH Matter Number: 202201-15856114
          Right to Sue: FRANK / TESLA, INC.

  To All Respondent(s):

  Enclosed is a copy of a complaint of discrimination that has been filed with the
  Department of Fair Employment and Housing (DFEH) in accordance with Government
  Code section 12960. This constitutes service of the complaint pursuant to Government
  Code section 12962. The complainant has requested an authorization to file a lawsuit. A
  copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

  This matter may qualify for DFEH’s Small Employer Family Leave Mediation
  Pilot Program. Under this program, established under Government Code
  section 12945.21, a small employer with 5 -19 employees, charged with violation
  of the California Family Rights Act, Government Code section 12945.2, has the
  right to participate in DFEH’s free mediation program. Under this program both
  the employee requesting an immediate right to sue and the employer charged
  with the violation may request that all parties participate in DFEH’s free
  mediation program. The employee is required to contact the Department’s
  Dispute Resolution Division prior to filing a civil action and must also indicate
  whether they are requesting mediation. The employee is prohibited from filing a
  civil action unless the Department does not initiate mediation within the time
  period specified in section 12945.21, subdivision (b) (4), or until the mediation is
  complete or is unsuccessful. The employee’s statute of limitations to file a civil
  action, including for all related claims not arising under section 12945.2, is tolled
  from the date the employee contacts the Department regarding the intent to
  pursue legal action until the mediation is complete or is unsuccessful. You may
  contact DFEH’s Small Employer Family Leave Mediation Pilot Program by
  emailing DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter
  number indicated on the Right to Sue notice.


  Please refer to the attached complaint for a list of all respondent(s) and their contact
  information.

  No response to DFEH is requested or required.

  Sincerely,




  Form 0T_157EAC345513 (Revised 12/21)                                                                     DFEH-ENF 80 RS
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          STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                              GAVIN NEWSOM, GOVERNOR

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                               KEVIN KISH, DIRECTOR

          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
          http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


  Department of Fair Employment and Housing




  Form 0T_157EAC345513 (Revised 12/21)                                                                     DFEH-ENF 80 RS
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                                                              #:82
          STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                              GAVIN NEWSOM, GOVERNOR

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                               KEVIN KISH, DIRECTOR

          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
          http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


  January 14, 2022

  NAYMON FRANK
  695 Town Center Dr., Suite 700
  Costa Mesa, CA 92626

  RE:     Notice of Case Closure and Right to Sue
          DFEH Matter Number: 202201-15856114
          Right to Sue: FRANK / TESLA, INC.

  Dear NAYMON FRANK:

  This letter informs you that the above-referenced complaint filed with the Department of
  Fair Employment and Housing (DFEH) has been closed effective January 14, 2022
  because an immediate Right to Sue notice was requested.

  This letter is also your Right to Sue notice. According to Government Code section
  12965, subdivision (b), a civil action may be brought under the provisions of the Fair
  Employment and Housing Act against the person, employer, labor organization or
  employment agency named in the above-referenced complaint. The civil action must be
  filed within one year from the date of this letter.

  This matter may qualify for DFEH’s Small Employer Family Leave Mediation
  Pilot Program. Under this program, established under Government Code section
  12945.21, a small employer with 5 -19 employees, charged with violation of the
  California Family Rights Act, Government Code section 12945.2, has the right to
  participate in DFEH’s free mediation program. Under this program both the
  employee requesting an immediate right to sue and the employer charged with
  the violation may request that all parties participate in DFEH’s free mediation
  program. The employee is required to contact the Department’s Dispute
  Resolution Division prior to filing a civil action and must also indicate whether
  they are requesting mediation. The employee is prohibited from filing a civil
  action unless the Department does not initiate mediation within the time period
  specified in section 12945.21, subdivision (b) (4), or until the mediation is
  complete or is unsuccessful. The employee’s statute of limitations to file a civil
  action, including for all related claims not arising under section 12945.2, is tolled
  from the date the employee contacts the Department regarding the intent to
  pursue legal action until the mediation is complete or is unsuccessful. Contact
  DFEH’s Small Employer Family Leave Mediation Pilot Program by emailing
  DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number
  indicated on the Right to Sue notice.




  Form 0T_157EAC345513 (Revised 12/21)                                                                     DFEH-ENF 80 RS
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          STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                              GAVIN NEWSOM, GOVERNOR

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                               KEVIN KISH, DIRECTOR

          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
          http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


  To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
  Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
  DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
  whichever is earlier.

  Sincerely,


  Department of Fair Employment and Housing




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 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                               BEFORE THE STATE OF CALIFORNIA
 2                     DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    NAYMON FRANK                                                      DFEH No. 202201-15856114

 6                                          Complainant,
     vs.
 7
 8    TESLA, INC.
      10250 Santa Monica Blvd., Suite 1340
 9    Los Angeles, CA 90067

10                                          Respondents

11
12
     1. Respondent TESLA, INC. is an employer subject to suit under the California Fair
13   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

14
15   2. Complainant NAYMON FRANK, resides in the City of Costa Mesa, State of CA.

16
   3. Complainant alleges that on or about February 1, 2020, respondent took the
17 following adverse actions:
18 Complainant was harassed because of complainant's race, color.
19
     Complainant was discriminated against because of complainant's race, color and as a
20   result of the discrimination was terminated, forced to quit, denied hire or promotion.

21 Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment and as a result was terminated, forced to quit.
22
23 Additional Complaint Details: NAYMON FRANK (“FRANK”) began his employment with
     TESLA, INC. (“TESLA”) on or about August 15, 2016, in sales, with the title of Owner
24 Advisor in Newport Beach, California. One of the incentives to accept the job was TESLA’s
     promise of stock options. However, FRANK lost a significant amount of money in stock
25
26                                                     -1-
                                      Complaint – DFEH No. 202201-15856114
27
     Date Filed: January 14, 2022
28
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 1 benefits (Restricted Stock Units, “RSUs”) because he was wrongfully constructively
     terminated prior to full vesting (i.e. FRANK’s employment was wrongfully constructively
 2 terminated before his stock options fully vested at four years of employment with TESLA.)
     TESLA appears to intentionally terminate employment before employees can receive vested
 3 stock benefits.
             While working as an Owner Advisor in Newport Beach, California, FRANK also was
 4 a Regional Trainer, training employees at the Buena Park, Brea, and Costa Mesa locations,
     among other locations.
 5             On or about November 1, 2018, FRANK relocated to the UTC (University Town
     Center) TESLA location in San Diego; FRANK’s title changed to that of Assistant Store
 6
     Manager. Although TESLA told FRANK that his relocation costs would be paid, FRANK was
 7   never reimbursed and ended up paying the costs of relocating to San Diego himself.
     FRANK became a salaried employee when he became an Assistant Store Manager (prior to
 8   that time, FRANK was an hourly employee.)
     FRANK accepted the new position of Assistant Store Manager (although the pay – without
 9   the bonuses FRANK received as an Owner Advisor - was lower than the position of Owner
     Advisor), because he had been informed by TESLA that the way to move up in the TESLA
10   corporation was to get into management. FRANK had the expectation that he would be
     eligible for promotions in management once he accepted the Assistant Store Manager
11   position.
               However, despite the fact that during FRANK’s employment with TESLA at the
12   Newport Beach and San Diego locations, the TESLA Newport Beach location was ranked
     first in sales, and the TESLA San Diego location was ranked second in sales, FRANK was
13   never promoted above the title of Assistant Store Manager. FRANK estimates that he was
     passed over for a promotion at least four times while at TESLA. For example, FRANK
14   trained employee Chris Bisson, and then Bisson was promoted to Store Manager at the San
     Diego UTC location (while FRANK remained Assistant Store Manager at the same location.)
15
               On December 13, 2019, FRANK received word that he had been selected for an
16   Audi commercial for the Audi e-tron (to be shown during Super Bowl 2020.) Although
     FRANK had never been told of and had never received from TESLA any policy prohibiting
17   him from working as an actor while employed at TESLA (or specifically appearing in a car
     commercial), out of over-abundance of caution, FRANK asked his boss Kristina Holt (Store
18   Manager) whether it would be okay if he appeared in the Audi e-tron commercial, which
     would air during the 2020 Super Bowl. More specifically, FRANK told Holt on December 14,
19   2019, that he had been selected to appear in the Audi commercial, and Holt told FRANK
     that she had cleared FRANK’s appearing in the Audi e-tron commercial with Suzie Hatzis
20   (Regional Manager) the same day. Holt specifically gave FRANK the days off that FRANK
     needed to shoot the Audi e-tron commercial (i.e. December 21 and December 22, 2019.) No
21   one said anything to FRANK about a potential conflict of interest in appearing in a
     commercial for a competitor.
22             The Audi e-tron commercial aired during the Super Bowl on January 31, 2020. On
     February 1, 2020, which was FRANK’s first day on the job as Assistant Store Manager in
23   Santa Monica, Isabella Merrick called FRANK and told him that she (Merrick) was offering
     FRANK the opportunity to resign (which would allow for the possibility of being re-hired); if
24
     FRANK didn’t resign by the end of the call with Merrick, Merrick told FRANK he would be
25   fired. Not having any other option than to be fired (with no chance of being re-hired), FRANK

26                                                     -2-
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 1 resigned (i.e. he was constructively terminated.) The pre-textual reason for asking FRANK
     to resign or be terminated was that FRANK’s appearing in an Audi e-tron commercial was a
 2 conflict of interest. Merrick, at the time, knew that FRANK had requested and was given
     permission by TESLA management to appear in the Audi e-tron commercial.
 3           FRANK experienced a hostile work environment during his employment with TESLA,
     sufficiently severe or pervasive to alter the conditions of his employment and to create an
 4   abusive working environment including but not limited to:
     •       Being harassed because of his race—African-American.
 5   •       Not being promoted at least four times because of his race.
     •       During FRANK’s employment at TESLA, every African-American salesperson at the
 6
     UTC San Diego TESLA location was fired.
 7   •       To FRANK’s knowledge he was the only African-American manager at TESLA during
     the time he was employed, throughout the entire company.
 8   •       FRANK was told by manager Suzie Hatzis during a performance review that he
     looked “intimidating.” When FRANK asked Hatzis to provide clarification, Hatzis told FRANK
 9   (an African-American man) that he “can be a scary-looking guy.” FRANK said that this was
     not a fair statement, and asked Holt to remove these comments from his performance
10   review. FRANK also called and made a written complaint to Human Resources.
     •       Although FRANK followed all TESA policies, FRANK was told by manager Suzie
11   Hatzis that he “doesn’t follow our rules”, and “doesn’t play ball.”
     •       Suzy Hatzis also tried to write-up FRANK for taking a test-drive car from the Vegas
12   Hub to the call center, while FRANK was working at the Las Vegas TESLA location, when
     his use of the car was authorized.
13   FRANK’s constructive termination was wrongful because he was forced to quit in part
     because of racial discrimination and harassment.
14   FRANK was retaliated against because he did an Audi e-tron commercial after getting
     permission to do so from TESLA. FRANK was also retaliated against for being African-
15
     American.
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26                                                     -3-
                                      Complaint – DFEH No. 202201-15856114
27
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 1 VERIFICATION
 2 I, Sherry Graybehl D'Antony, am the Attorney in the above-entitled complaint. I
   have read the foregoing complaint and know the contents thereof. The matters
 3
   alleged are based on information and belief, which I believe to be true.
 4
   On January 14, 2022, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                            Costa Mesa, CA
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                     01                                                PROOF OF SERVICE
                                                                   Naymon Frank v. Tesla, Inc., et. al.
                     02                                                LASC - 22STCV01712

                     03 STATE OF CALIFORNIA, COUNTY OF ORANGE
                             I am over 18 years of age and not a party to this action. My business address is 695 Town Center Drive,
                     04 Suite 700, Costa Mesa, California 92626. On February 15, 2022, I served the following document(s):

                     05          •   FIRST AMENDED COMPLAINT
                     06
                             I served the above-referenced document(s) on the following person(s) in the following manner:
                     07
                              Kiran S. Lopez, Esq.                                    Attorneys for Defendants
                     08       TESLA, INC.                                             Tesla, Inc., and Suzie Hatzis
                              901 Page Avenue
                     09       Fremont, CA 94537
                              kirlopez@tesla.com
                     10

                     11
                                  BY PERSONAL SERVICE: I caused the above-referenced document(s) to be personally delivered to
                     12       the person(s) at the address(es) above.
                     13          BY OVERNIGHT MAIL: I am readily familiar with the practice of the Law Offices of Bohm Wildish
                              & Matsen, LLP. for the collection and processing of correspondence for overnight delivery and known that
                     14       the document(s) described herein will be deposited in a box or other facility regularly maintained by
                              overnight mail service for overnight delivery.
                     15
                                   BY E-MAIL/ELECTRONIC TRANSMISSION: On February 15, 2022, I caused the above-
                     16       referenced document(s) to be transmitted by electronic mail from lli@bohmwildish.com to the e-mail
                              address(es) of the addressee(s) pursuant to Rule 2.251 of the California Rules of Court. The transmission
                     17       was complete and without error and I did not receive, within reasonable time after transmission, any
                              electronic message or other indication that the transmission was unsuccessful.
                     18
                                   ELECTRONIC SERVICE [e-Service] VIA FIRST LEGAL / FILE & SERVEXPRESS / ONELEGAL: On
                     19       Tuesday, February 15, 2022, I caused the above-referenced document(s) to be electronically served by
                              submitting the electronic version of the document(s) to FIRST LEGAL / FILE & SERVEXPRESS /
                     20
                              ONELEGAL, through their web interface at www.FirstLegal.com / www.secure.fileandservexpress.com /
                     21       www.OneLegal.com, which caused the documents to be sent by electronic transmission to the addressee(s)
                              listed on the service list. The transmission was reported as complete and without error.
                     22
                              I declare under penalty of perjury under the laws of the State of California that the above statements are true
                     23       and correct. Executed on February 15, 2022 at Costa Mesa, California.

                     24

                     25                                                                                     Lance Li

                     26

                     27

                     28
BOHM WILDISH & MATSEN, LLP
   695 Town Center Drive
          Suite 700
   Costa Mesa, CA 92626
       (714) 384-6500
    (714) 384-6501 (fax)
                             PROOF OF SERVICE
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   1                                         PROOF OF SERVICE
   2          I, William Nervis, declare:
   3
               I am a citizen of the United States and employed in Alameda County, California. I am
   4   over the age of eighteen years and not a party to the within-entitled action. My business address
       is 901 Page Ave., Fremont, CA 94538. On March 9, 2022, I filed a copy of the within
   5   document(s):
   6                      DEFENDANT TESLA, INC.’S NOTICE OF REMOVAL
   7
          by transmitting via facsimile the document(s) listed above to the fax number(s) set forth
           below on this date before 5:00 p.m.
   8

   9      by filing the document(s) listed above for electronic filing via ECF/PACER to the
           United States Federal Court, Central District of California.
  10      by placing the document(s) listed above in a sealed                envelope and affixing a
           pre-paid air bill, and causing the envelope to be delivered to a Delivery Service agent for
  11            delivery.

  12           by personally delivering the document(s) listed above to the person(s) at the address(es)
                set forth below.
  13           by transmitting via my electronic service address (wnervis@tesla.com) the document(s)
                listed above to the person(s) at the e-mail address(es) set forth below.
  14

  15          I am readily familiar with the firm's practice of collection and processing correspondence
       for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
  16
       day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
  17   motion of the party served, service is presumed invalid if postal cancellation date or postage
       meter date is more than one day after date of deposit for mailing in affidavit.
  18
                I declare under penalty of perjury under the laws of the State of California that the above
  19   is true and correct.
  20
              Executed on March 9, 2022, at Palm Desert, California.
  21

  22
                                                                        William Nervis
  23

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                                                PROOF OF SERVICE
